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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
NATALA S. STROMAN,                         )
                                           )
      Plaintiff,                           )
                                           )
         vs.                               )
                                           )
BANK OF AMERICA CORPORATION,               )
BANK OF AMERICA, N.A., BAC HOME )
LOANS SERVICING, LP (a subsidiary of       )           Civil Action
Bank of America, N.A. and formerly known )             File No.:
as Countrywide Home Loans Servicing, L.P.) )
EQUIFAX CREDIT INFORMATION                 )
INFORMATION SERVICES, INC.,                )
EXPERIAN SOLUTIONS, INC., TRANS            )
UNION LLC AND ABC CORPORATIONS 1-3, )
                                           )
      Defendants.                          )
                                           )

              COMPLAINT FOR DAMAGES, INJUNCTIVE,
               DECLARATORY AND EQUITABLE RELIEF
      COMES NOW Plaintiff, NATALA S. STROMAN, by and through the
undersigned counsel of record, and brings this, her Complaint for Damages,
Injunctive, Declaratory and Equitable Relief against Defendants BANK OF
AMERICA CORPORATION ["BOAC"], BANK OF AMERICA, N.A.
["BOA"], BAC HOME LOANS SERVICING, LP (a subsidiary of Bank of
America, N.A., and formerly known as/successor in interest to, Countrywide Home
Loans Servicing, L.P.)["BAC"](collectively referred to as the "BOA Defendants"),
EQUIFAX CREDIT INFORMATION SOLUTIONS, INC. ["Equifax"],
EXPERIAN INFORMATION SOLUTIONS, INC. ["Experian"], TRANS


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UNION LLC ["Trans Union"] and ABC CORPORATIONS 1-3 and shows as
follows: 1
                          I       PRELIMINARY STATEMENT

       To the extent permissible and or necessary, this action is brought pursuant to

F.R.C.P. 8 (d) and in conjunction therewith, each allegation is plead in the

aggregate and Plaintiff reserves the right to pursue alternative and [if necessary]

inconsistent theories of recovery and or to seek alternate remedies in order to

obtain full and complete relief. 2

             II    PARTIES, SERVICE, VENUE AND JURISDICTION
                                                  1.
       Plaintiff Natala S. Stroman is an individual natural person, United States

citizen and resident of the State of Georgia, County of Henry, situated in the

Northern District of Georgia.

1
        Because numerous documents relevant to this action received by Plaintiff from Defendant(s)
contain ambiguous references to "Bank of America", "BAC Home Loans Servicing", etc., Plaintiff
cannot yet be certain exactly which entity(s) committed the wrongs as identified herein and which,
therefore, are [or are not] proper party Defendants. See, e.g., 12/31/09 email to Plaintiff from "Kelly
R.", a BOA representative, wherein she states in response to Plaintiff's QWR specifically inquiring
about the issue, that "Bank of America has many different entities that are all under the same
umbrella of Bank of America, however each department is separate". In fact most of the letters
received by the BOA Defendants state at the bottom, "This communication is from BAC Home
Loans Servicing, LP, a subsidiary of Bank of America, N.A.". See also 07/07/10 letter from BOA
attached as Exhibit "AA". Accordingly, reference to the "BOA Defendants" shall, unless otherwise
indicated, mean whichever entity(s) is later determined, through discovery, to have been the legal
entity(s) that acted or failed to act, as applicable or necessary.
2
        Plaintiff is mindful of the "catch-22" presented by competing theories and opinions as to
the level of detail to be included in a Complaint and notes that issue "is widely debated among
practitioners". See, e.g., Federal Civil Rules Handbook, Baicker-McKee, at 287. To that end,
Plaintiff has attempted to balance the need for specificity against other considerations.

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                                          2.
      Defendant Bank of America Corporation is, according to the records of the

Georgia Secretary of State's Office, a foreign for-profit corporation headquartered

in the state of Delaware, with its Principle Office located at 401 N. Tryon St.,

NC1-021-02-20, Charlotte, North Carolina 28255. BOCA is, upon information

and belief, authorized to conduct and transact business in Georgia and may be

served with process via its Registered Agent, C.T. Corporation/Shakinah Edwards,

at 1201 Peachtree St., NE, Atlanta, Fulton County, GA 30361. Alternatively,

BOAC may be served via one of its officers agents or employees or otherwise in

accordance with law. See, e.g., O.C.G.A. §§ 9-11-4, 9-10-90, 14-2-504, 14-2-140

and American Photocopy v. Deadmore, 127 Ga. App. 207 (1972).

                                          3.
      Defendant Bank of America, N.A. is, upon information and belief a foreign

for-profit corporation headquartered in the state of Delaware, with its Principle Office

located at 401 N. Tryon St., NC1-021-02-20, Charlotte, North Carolina 28255. BAC

is, according to the [lack of] records of the Georgia Secretary of State's Office, not

expressly authorized to conduct and transact business in Georgia and thus may be

served with process by serving one of its officers agents or employees or otherwise

in accordance with law. Id. Upon information and belief, BOAC is the holding

company for BOA.


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                                           4.
      Defendant BAC HOME LOANS SERVICING, LP (a subsidiary of Bank

of America, N.A. and formerly known as/successor in interest to, Countrywide

Home Loans Servicing, L.P.) is, upon information and belief, a foreign for-profit

corporation headquartered in the state of Delaware, with its Principle Office

located at 401 N. Tryon St., NC1-021-02-20, Charlotte, North Carolina 28255.

BAC is, according to the [lack of] records of the Georgia Secretary of State's

Office, not specifically authorized to conduct and transact business in Georgia and

thus may be served with process by serving one of its officers agents or employees

or otherwise in accordance with law. Id.

                                           5.
      Defendant Equifax is - upon information and belief and according to the

records of the Georgia Secretary of State's Office - a domestic for-profit corporation

organized and existing pursuant to Georgia law and with its Principle Office address

located at 1550 Peachtree St., N.E., Atlanta, GA, Fulton County, Georgia 30309 and

may be served with process, among alternative methods, via its Registered Agent,

Kent E. Mast, at 1550 Peachtree St., SW, Atlanta, Georgia 30309.

                                           6.
      Defendant Experian is - upon information and belief and according to the

records of the Georgia Secretary of State's Office - a foreign for-profit corporation,


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headquartered in the state of Ohio with its Principle Office located at 475 Anton

Blvd., Costa Mesa, California 92626-7037 and may be served with process,

among alternative methods, via its Registered Agent, C.T. Corporation at 1201

Peachtree St., NE, Atlanta, Fulton County, Georgia 30361.

                                           7.
      Defendant Trans Union is - upon information and belief and according to the

records of the Georgia Secretary of State's Office - a foreign limited liability company,

headquartered or created in the state of Delaware, with its Principle Office located at

555 W. Adams St., Chicago, Illinois 60661, and may be served with process, among

alternative methods, via its Registered Agent, Prentice-Hall Corp. Systems at 40

Technology Pkwy South, #300, Norcross, Gwinnett County, Georgia 30092.

                                           8.
      Defendants ABC Corporations 1-3 have been named as Defendants in this

action due to the fact that, upon information and belief, Plaintiff's loan - or the

ownership interest therein - has been securitized by the original lender and sold or

otherwise transferred as a Mortgage Backed Security (MBS) or otherwise "pooled"

along with numerous other loans to one or more entities whose identities are

currently unknown.

                                           9.
      The out-of-state/foreign corporate Defendants are subject to the personal


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jurisdiction of this Court by virtue of their affirmative, purposeful and persistent

[substantial] contacts with Plaintiff and other citizens of Georgia in conjunction

with their commercial for-profit business endeavors such that the exercise of

personal jurisdiction over them here would "not offend traditional notions of

substantial justice and fair play". See, e.g. International Shoe Co. v. Washington,

326 U.S. 310, 316, 66 S. Ct. 154 (1945).

                                        10.
      Federal subject matter jurisdiction is proper in this Court pursuant to 28

U.S.C.A. § 1331. As demonstrated herein, this case involves issues/claims "arising

under the Constitution, laws, or treaties of the United States" (i.e. Federal law).

These include, for example, the Real Estate Settlement Procedures Act

("RESPA")[12 U.S.C. § 2601 et seq.], the Home Affordable Modification Program

("HAMP")[see Emergency Economic Stabilization Act of 2008 (“ESSA”), Pub. L.

No. 110-343, § 101, 122 Stat. 3765 (October 3, 2008), the Truth in Lending Act

("TILA"), the Fair Credit Reporting Act ("FCRA") and the Fair Debt Collection

Practices Act ("FDCPA"), all of which clearly predominate over any ancillary or

secondary state law claims. See, e.g., 15 U.S.C. § 1681(p) ["An action to enforce

any liability created under this subchapter may be brought in any appropriate

United States district court, without regard to the amount in controversy, or in any

other court of competent jurisdiction"] and 15 U.S.C. § 1692(d) ["An action to

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enforce any liability created by this subchapter may be brought in any appropriate

United States district court without regard to the amount in controversy, or in any

other court of competent jurisdiction…"].

                                          11.
      Alternatively or additionally, federal jurisdiction is proper in this Court

pursuant to 28 U.S.C.A. § 1332, as one or more parties to this case are citizens of

different states. Specifically, as noted above, Plaintiff is a resident of the state of

Georgia, while one or more of the named Defendants are citizens of other states as

defined by § 1332 (c)(1), and the amount in controversy, excluding costs and

interest, exceeds $75,000.00.

                                          12.
      This Court has proper pendant, ancillary and or supplemental jurisdiction over

Plaintiff's state law claims pursuant to 28 U.S.C.A. § 1367 [i.e. "district courts shall

have supplemental jurisdiction over all other claims that are so related to claims in

the action within such original jurisdiction that they form part of the same case or

controversy…"], as such "other" claims are "so related" and do not substantially

predominate over the Federal law claims.

                                          13.
      Venue in this Court is proper pursuant to 28 U.S.C.A. § 1391 (a)(2) and or

(3) by virtue of the fact that "a substantial part of the events or omissions giving


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rise to the claim occurred" in the Northern District of Georgia, and the property at

issue is also situated there.

                                         14.
       Additionally or alternatively, venue in this Court is proper pursuant to 28

U.S.C.A. § 1391 (b)(2) and or (3) by virtue of the aforementioned facts and as

otherwise detailed herein.

            III    INTRODUCTION, FACTS AND BACKGROUND
                                         15.
       On or about January 31, 2008, Plaintiff originally obtained a mortgage loan

[identified as Loan #: XXXXX49708] from/with Quicken Loans (the "originator")

for the purchase [re-finance] of real and improved property (sometimes referred to as

"the Property") - i.e. a home, to serve as her principal residence - more specifically

described as and located at 154 Ashlyn Dr., Hampton, GA 30228. The transaction

involved the issuance of a Security Deed and Note in connection with the loan.

       The closing costs (settlement charges) associated with the new re-financed

loan from Quicken totaled $9,290.54, and it carried an interest rate of 5.99% for a

thirty (30) year fixed rate, with interest only payments for the first ten (10) years.

On or about April 1, 2008, approximately two (2) months later, the servicing for

said loan was transferred to Countrywide Home Loans Servicing, L.P. [then

identified as Loan #: XXXX76139]. Thereafter, the servicing for the loan was then


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transferred yet again to BAC, effective May 1, 2009. 3

                                                16.
       The BOA Defendants - and Defendant BAC in particular - is a loan “servicer”

of Plaintiff’s loan at issue, which is a “federally related mortgage loan” as the terms

is defined in RESPA.

                                                17.
       At all times relevant to this action, Plaintiff has tendered, and the BOA

Defendants or its predecessors have received, timely - as defined by all Defendants

- payment(s) in full [for each installment due per her the applicable contract(s)] in

connection with her loan.

                                                18.
       In addition to the rather onerous terms of the original loan at issue, at some or

all times relevant to this Complaint and as a result of economic conditions - most of

which are beyond the scope of this Complaint [but of which Plaintiff requests that

the Court take judicial notice] - the U.S. experienced a rather sudden and unexpected

depression of the real estate market and other widespread financial troubles, such as

job losses, income reductions, etc. And this general downturn in the economy

contributed to Plaintiff's financial hardship. See Hardship Affidavit submitted by

3
        Plaintiff does not recall receiving any notice of transfer or any other notice pertaining to
BAC's assumption of the servicing of her loan from Countrywide and does not have any evidence in
her possession as to same. Nor has BOA/BAC produced any such documentation despite Plaintiff's
multiple QWR's directed to them/it seeking, among other evidence, any such documentation.

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Plaintiff in conjunction with HAMP Modification.

                                            19.
       Plaintiff utilized Fannie Mae's online "Loan Lookup" tool to confirm that her

loan was indeed backed or owned by it - i.e. a "GSE" loan. See "screenshot"

attached hereto as Exhibit "A". See also 07/07/10 letter from BOA attached as

Exhibit "AA". 4

                                            20.
       According to Fannie Mae's Servicing Guide Announcement 09-05 R April

21, 2009 ("Reissuance of the Introduction of the Home Affordable Modification

Program, HomeSaver Forbearance, and New Workout Hierarchy")[hereafter,

"Announcement"],

        On February 18, 2009, President Obama announced the Homeowner
        Affordability and Stability Plan to help up to 7 to 9 million families
        restructure or refinance their mortgage loans to avoid foreclosure. As part
        of this plan, the Treasury Department (Treasury) announced a national
        modification program aimed at helping 3 to 4 million at-risk homeowners
        - both those who are in default and those who are at imminent risk of
        default - by reducing monthly payments to sustainable levels. Treasury
        issued uniform guidance for loan modifications across the mortgage
        industry in Supplemental Directive 09-01 on April 6, 2009. This
        Announcement provides guidance to Fannie Mae servicers for adoption
        and implementation of the Home Affordable Modification Program
        (HAMP) for Fannie Mae loans.

4
         Among a plethora of other things, the 07/07/10 letter unequivocally and conclusively
establishes that (1) Plaintiff's counsel's June 20, 2010 letter was a proper QWR, (2) the BOA
Defendants have willfully and admittedly failed to adequately respond to at least one of
Plaintiff's QWRs, (3) the BOA Defendants did not originate the subject loan, (4) the BOA
Defendants do not currently own the loan, (5) Fannie Mae currently owns the loan and (6) the
letter is misleading.

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Id. at 1-2. See Exhibit "B" attached hereto and available online through Fannie Mae's

website at www.efanniemae.com/sf/guides/ssg/annltrs/pdf/2009/0905.pdf.

                                    21.
       Accordingly, when, in the summer of 2009, Plaintiff learned about the

Neighborhood Assistance Corporation of America ("NACA") and the [free]

assistance it was providing to consumers to help them obtain loan modifications

under HAMP [and other programs], she decided to seek its help.

                                     22.
       Fortunately, NACA agreed to assist Ms. Stroman and, as a result of the

collaboration [she joined the organization and authorized it to act on her behalf and

her 'case' was assigned as File Number XX3742], she submitted her initial HAMP

Hardship Affidavit and Loan Modification Application to Defendants BOA/BAC in

or around the end of August of 2009.5

                                                 23.
       On November 19, 2009, Plaintiff received an email from Defendant


5
        Again, despite Plaintiff requesting such documentation from the BOA Defendants - and
their obligation to provide it in response - there does not appear to be any express indication in the
documents provided to her, and or currently in her possession, that the Modification that was
sought/granted was issued pursuant to HAMP [there are other similar programs available].
However, after conducting rather extensive research, investigation and analysis, Plaintiff's Counsel
believes he has determined that the loan is owned or backed by Fannie Mae ["FM"], which in turn
means that BOA/BAC likely entered into a "Participation Agreement" of some kind with FM,
resulting in its obligation to offer/issue HAMP Modifications pursuant to and in accordance with
the applicable conditions and rules of the program [discussed in more issue below].


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BOA/BAC's       "Loss       Mitigation   Department"        [presumably     the   department

responsible for coordinating Modifications] wherein it wrote in relevant part, 6

        We have reviewed the case and will be able to offer a loan
        modification. A trial period of 4 months will be required, at the new
        PITI payment of $1,234.00 for 12/01/09 through 03/01/10. If the
        trial period is successful, New PI: $905.00. New PITI: $1,234.00.
        New UPB: $232,554.16. Deferred principal: $26,997.27. Interest bearing
        principal: $205,556.88. First payment due with modification documents. Interest
        rate 3.0% for remaining term of the loan.

        Emphasis supplied.
                                 24.
      On the same day, November 19, 2009, Plaintiff responded in writing to

Defendant(s) BOA/BAC and stated "Member accepts this proposal. Please mail out

all   documents       for      Member      to        sign   ASAP.     Thanks.      Sent   to:

lossmitnaca@bankofamerica.com".

                                      25.
      Thereafter, in November 2009, for reasons completely unknown to Plaintiff,

without any notice to her, without her consent and months before the

Modification Agreement was even effective, BOA/BAC began diverting or placing

Plaintiff's monthly mortgage/loan payments in segregated "holding" or diversion

account of some kind, and these payments were not accurately and or timely (if at

all) credited to Plaintiff's loan account or otherwise reflected correctly in


6
     Most if not all such preliminary electronic communications with, by and between
BOA/BAC regarding the Modification were transmitted to/from/via NACA and its website, as
NACA was acting as Plaintiff's agent.

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BOA/BAC's system/records.

                                     26.
      Then, after not hearing back from BOA for many months, on or about

March 5, 2010, Plaintiff wrote to BOA/BAC via email to follow up and requested

that it "please provide an update on [her] file and provide the investors (sic)

information. Thank you for your cooperation.”

                                   27.
      Finally on March 12, 2010 BOA/BAC's Loss Mitigation Department wrote

to Plaintiff/NACA via email in response and stated, in relevant part,

         We have reviewed the case and are offering a modification of the
         loan. New PI: $781.07, New PITI: $1202.63, New UPB:
         $232,017.49, Interest bearing principal: $176,732.49. The first payment is
                                                     st
         due with signed modification documents. 1 payment effective date
         will be 05/01/2010. An interest rate of 3.00% will be effective for the
         remaining term of 334 months. (emphasis supplied).
                                28.
      On or about March 24, 2010, after months of communications and

negotiations, Plaintiff finally received a letter dated March 12, 2010 - the same date

it confirmed the Modification by email as described in the preceding paragraph -

from BAC' "Home Retention Division", regarding Plaintiff's loan/mortgage

Modification. Enclosed with the letter was a [proposed] Modification Agreement

("Agreement"), which BAC requested to be executed and returned to it on or before

March 29, 2010. See Exhibits "C" and "D" attached hereto.



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                                29.
      According to the "SUMMARY OF PROPOSED MODIFICATION" set

forth in the March 12th letter, the "Current Interest Rate" on Plaintiff's then-

existing loan was 5.990%, and the "New Interest Rate" was to be 3.000%. The

"Unpaid Principal Balance" was $232,017.48, the "Deferred Principal Balance"

was $55,285.66 and the "Interest Bearing Principal Balance" was $176,732.49. Id.

                                       30.
      Further, the "Effective Date" of the Modification was clearly indicated as

05/01/2010. And according to the "breakdown" provided, Plaintiff's total "New

Monthly Payment" was to be $1,202.63, consisting of Principal and Interest ("P&I")

in the amount of $781.07 and "Escrow/Option Ins." [taxes, insurance, etc.] in the

amount of $421.56. Further, according to the letter, the Modification Agreement will

"bring the loan current…". Id. See also Loan Modification Agreement itself ["As

of the 1st day of May 2010…Interest will be charged on the Unpaid Principal

Balance at the yearly rate of 3.000% from the 1st day of April 2010…The Borrower

promises to make monthly payments of principal and interest of U.S. $781.07

beginning on the 1st day of May 2010, and continuing thereafter on the same day of

each succeeding month until principal and interest are paid in full"].

                                          31.
      On March 25, 2010, the day following her receipt of the Modification



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Agreement, Plaintiff signed, had it notarized and, as instructed, returned it along

with a money order in the amount of $1,202.63 made payable to Bank of

America/Home Loan Servicing, via Fed Ex [tracking number: 798490953451].

This was, as noted in the preceding paragraph, the exact amount due as expressly

stated by BOA/BAC.

                                         32.
      As a result of Plaintiff's having met all conditions contained in the proposed

Modification as offered by BOA/BAC [and all other conditions precedent

pertaining matters forming the basis of her claims] and having timely tendered the

monetary and other consideration to it, and BOA/BAC having notified Plaintiff of

its acceptance of the Modification and having begun performance or partially

(albeit negligently) performed thereunder and in accordance therewith, it cannot be

disputed that the parties had a legally enforceable contractual agreement. See, e.g.,

letter dated April 9, 2010 sent by BOA/BAC to Plaintiff wherein it confirmed that

it had received the finalized/executed Modification Agreement on March 29, 2010

from Plaintiff and stated that her loan "will remain in normal servicing" in the

meantime [until the Modification was finalized]. See Exhibit "E" attached.

                                        33.
      Unfortunately, not long after the Modification was approved, finalized and in

effect, Plaintiff's dealings and experience with the BOA Defendant became


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increasingly strained, and significant problems soon developed with the Defendants'

(mis) handling, (mis) management and servicing of Plaintiff's Account the and

communications [and or lack thereof] related thereto. In response to these problems,

Plaintiff notified - directly, on her own and exclusive of her attorney's correspondence

- the BOA Defendants in writing at least seventeen (17) times in an effort to have the

accounting, Credit Reporting and various other errors and problems corrected and

resolved, each of which constituted a Qualified Written Request ("QWR") under

RESPA as described below. And these attempts are exclusive of those made by her

verbally/telephonically and those made in writing by her attorney.

      As just one example, on April 1, 2010 Plaintiff sent a QWR and Notice of

Billing Error [letter], via Certified U.S. Mail, to Defendant BOA complaining

about the false and inaccurate credit reporting, problems with customer service and

their inability to resolve the payment/credit dispute, the credit line suspensions and

other issues. See, e.g., Exhibit "F" attached hereto.

      One of the best [and most recent] items of documentary evidence - and of

admissions against the BOA Defendants' interests - in terms of virtually all of

Plaintiff's causes of action is a letter [on BOA's "CORPORATE CENTER" letterhead]

dated November 9, 2010 [but, interestingly - and suspiciously] not mailed until

November 18th]to Plaintiff from Bradley C. Jermyn, a "Customer Advocate" in



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BOA's "Executive Customer Relations, Office of the CEO and President", and

attached hereto as Exhibit "G". In the letter, Mr. Jermyn writes as follows:

         Bank of America's Office of the CEO and President
         acknowledges receipt of your inquiry dated August 28, 2010,
         filed with the Office of the Comptroller of the Currency (OCC).
         As a customer advocate, I welcome the opportunity to respond to
         your concerns.
         In your inquiry, you stated that your mortgage loan statements
         do not reflect a modification signed in March 2010. In
         addition, you expressed concern about negative credit
         reporting related to your mortgage account. You further
         expressed dissatisfaction with the customer service you have
         received in resolving this matter. You requested that your
         loan display the terms of the modification in our system and
         in the statements you receive. I trust I have accurately captured your
         concerns and requests.

         In researching your account, I confirmed that your loan is
         expected to be adjusted according to the terms of your March 12,
         2010 modification agreement in December 2010. I regret any
         inconvenience caused by the delay you have experienced. On
         November 2, 2010, Bank of America placed your payments
         totaling $18,218.41 into a partial balance holding account as the
         first step toward rectification of your loan and the
         implementation of your modification. This is necessary because
         the account must reflect as it did when the modification was
         issued. Once the modification is implemented in December
         2010, your payments will be credited to the account and
         backdated to the date you originally remitted them. At that
         time, your account and statements will also be updated to
         reflect your new monthly payments in accordance with the
         March 12, 2010 modification agreement. Until then, please
         continue making your regularly scheduled monthly payments
         according to the terms of the loan modification.




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          I have placed a block on the credit reporting for your account to
          account until December 31, 2010. I noted that our associates have
          completed credit bureau updates on March 24, 2010 for the
          months of November 2009 through February 2010.
          Additionally, on May 19, 2010, Bank of America completed
          credit reporting adjustments for the months of October 2009
          through April 2010. Bank of America processed a credit
          reporting adjustment for May 2010 and June 2010 on July
          29, 2010. All updates should now be in effect. At this time,
          our records indicate all credit reporting on the subject
          account for the months of October 2009 through November
          2010 has been adjusted to reflect no delinquency.
          Ms. Stroman, I regret if the level of service you have received from Bank of
          America did not meet your expectations. Unfortunately, the level of
          maintenance required on your account, necessitated by the
          modification agreement, was outside the scope of our
          standard customer service. Accordingly, I have been assigned
          to monitor the status of your loan.
          Thank you for taking the time to discuss your concerns with me
          over the telephone on August 30, 20l0. I assure you that
          senior management is aware of your experience and that we
          view your feedback as an opportunity to evaluate and improve the service
          we provide to all customers….(emphasis supplied)

      In addition to buttressing most of Plaintiff's claims standing alone, this letter,

which undoubtedly speaks best for itself, also raises monumental concerns and should

cause any reasonable reader to shake his or her head in absolute astonishment. For the

BOA Defendants unequivocally admit no less than the following:

        -   That the Modification at issue should have been and was effective no
later than March 12, 2010;
      -     That Plaintiff contacted BOA/BAC in writing and via telephone about
her concerns/complaints;
      -       That "senior management" is aware of her experience;

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      -      That BOA/BAC breached its contract(s) with Plaintiff and with one or
more other third parties, as explained more fully herein;
      -      That BOA/BAC not only failed to timely implement Plaintiff's
Modification, but that as of November 9, 2010, it had still not implemented it and
or had not done so correctly;
      -     That BOA/BAC has been erroneously and wrongfully holding and
misapplying numerous payments received from Plaintiff totaling at least
$18,218.41;
       -     That as of November 2, 2010, BOA/BAC had done nothing to rectify
the problems with Plaintiff's account and that despite being fully aware of the
significant and various problems with same, that it contends it is unable to
immediately and completely correct the problems;
       -       That BOA/BAC has waited nine (9) months before it has even alleged
that it will, in the future, begin correctly applying payments previously received
from Plaintiff to her account and to accurately account for same;
       -      That as early as March 24, 2010 BOA/BAC admitted it transmitted
and reported erroneous information to one or more Consumer Credit Agencies and
that the erroneous information was still being reported as of November 9, 2010;
      -     That derogatory information pertaining to Plaintiff/her account should
not have ever been reported to the CRAs and that she has never submitted a "late"
payment in connection with the subject loan;
      -     That it was/is BOA/BAC's negligence and or willfulness in the
handling of Plaintiff's Modification that has caused and or contributed to the
innumerable problems, damages, anxiety, worry and hassles suffered by her; and
      -      BOA/BAC's handling and servicing of Plaintiff's account fell below
even its own [already low] internal standard of care and customer service
expectations.

                                         34.
      Plaintiff initiated also her own complaints with the Office of the Comptroller

of the Currency ("OCC") on Jan 26, 2010 and with the Federal Trade Commission

("FTC") on February 21, 2010.

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                                        35.
       Plaintiff also made numerous attempts to contact [and did on some occasions

speak with] the BOA Defendants' representatives, by telephone throughout the end

of 2009 and through the first half of 2010. Four (4) of these telephone

conversations/calls were recorded by Plaintiff; those of May 3, 2010, May 17,

2010, July 12, 2010 and July 20, 2010. And although these calls also proved futile

in terms resolving the problems with Plaintiff's account, some did serve to establish

various facts in support of her contentions and or as admissions by and against

BOA Defendants' interests. 7

                                          36.
       Also in the course of these telephone calls [and in letters] the BOA Defendants'

agents and employees confirmed and admitted that it had [and presumably still has] a

general policy and practice of [erroneously, wrongfully and impermissibly] "holding"

or diverting the monthly payments of Loan Modification participants - all of which

were, in Plaintiff's case, timely and correctly tendered in full - and that it was

intentionally handling Plaintiff's payments in such a manner, resulting in her payments




7
        Assuming no applicable privileges apply, Plaintiff will gladly share the content of these
recordings - lawfully made while in and pursuant to Georgia law. However, before doing so, Plaintiff
respectfully requests that in the event Plaintiff seeks to depose a BOA representative(s), that she not
be compelled to disclose same until after such deposition(s) is completed and responses to Initial
Disclosures are received from BOA [and hereby moves for an order accordingly]. See, e.g., National
Consumer Law Center, Fair Debt Collection (6th Ed. 2008) at § 2.4.9.3.

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not being timely and or accurately "posted" or reflected in its records. 8

                                    37.
       Yet the BOA Defendants continued to send inaccurate Billing Statements,

dunning collection letters, etc. to Plaintiff, some of which threatened and or

promised acceleration of the loan balance, negative credit reporting and or

foreclosure of Plaintiff's property.

                                       38.
       The same is true of the billing errors that have appeared and continue to

appear on Plaintiff's account statements. Said statements contain erroneous

payment/debt information, erroneously assessed late fees, past-due balances,

misapplied payments and other false, inaccurate and misleading information. To be

sure, such erroneous statements have been issued as recently as 11/29/10. See

Exhibit "H" attached.

                                        39.
       In any event, the vast majority of Plaintiff's communications and inquiries

either went entirely unanswered or garnered a response which was wholly

insufficient, erroneous and or otherwise unacceptable. As a result, Plaintiff was

effectively forced to seek legal counsel, which she ultimately did near the end of
8
          In the conversation of May 3, 2010, the BOA/BAC representative admitted that
Plaintiff’s payments were held in a partial account and were not being properly applied or noted
on the account and allegedly [and absurdly] that allegedly only one particular individual in its
"Loss Mitigation Department" could correct the problem. Plaintiff nevertheless attempted on
numerous occasions to contact said individual and left numerous voicemail messages for
him/her, but she never received a response thereto.

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April of 2010, by retaining the undersigned, a litigation attorney with substantial

experience handling consumer rights, credit, contract and related matters.

                                          40.
      Naturally these errors/problems which resulted directly from and were

proximately caused [in many cases intentionally, or with such lack of care and

wantonness so as to be tantamount to willfulness] by the BOA Defendants' actions

- caused Plaintiff a great deal of worry, concern, stress, anxiety, embarrassment,

humiliation, hassle, time, expense and other adverse results and necessitated the

she, and eventually her attorney, to expend considerable time in what ultimately

amounted to a futile effort to resolve them short of litigation.

      In addition, as explained in more detail below, Plaintiff suffered actual

monetary damages as a result of both the BOA and CRA Defendants'

actions/inactions, including substantial reduction of her Consumer Credit Score(s),

increased interest rates [including on student loans obtained for her daughter's

education], reduction in available credit on existing loans/credit cards, and

impaired her ability to obtain additional sources of credit and or to do so at lower

interests rates for which she would have otherwise qualified.

                                  41.
      Nothing contained in the Modification documents addressed anything

whatsoever pertaining to any change in the customary manner in which


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payments were to be tendered or received/deposited, how they were to be treated

or applied or any other related matter with respect to diverging from the long

established history and course of dealings/conduct between the parties on the

issue. Nor was the issue otherwise addressed or discussed between the parties or in

any other contractual documents. To the contrary; according the applicable contractual

stipulations and conditions to which BOA/BAC was bound by virtue of its agreement

with Fannie Mae, BOA/BAC was not allowed to change any such terms and was

required to continue servicing the loan and accounting for payments received as it

would otherwise do - i.e. as before/without the Modification. See Announcement at 20

["…borrower’s payment during the trial period must not be equal to or greater

than the contractual mortgage payment in effect prior to the trial period "].

                                           42.
      More specifically, according to paragraph 8 of the Loan Modification

Agreement,

         Except as otherwise specifically provided in this Agreement, the Note and
         Security Instrument will remain unchanged, and the Borrower and
         Lender will be bound by, and comply with, all terms and provisions
         thereof, as amended by this Agreement.

                                      43.
      On at least two (2) occasions Plaintiff also received collection letters from

an entity known as Radian Guarantee, Inc., Plaintiff's mortgage insurer, to whom,

according to Radian's own letter(s), the BOA Defendants erroneously and


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unlawfully published derogatory information about the alleged status of Plaintiff's

account/loan [libel] and her alleged inability to pay her mortgage and even

referenced imminent/forthcoming foreclosure of her home.

                                        44.
      In      addition   to   wrongfully, unlawfully,        negligently   and   or

intentionally/maliciously "misapplying" and "holding" some Plaintiff's payments,

BOA/BAC also in many instances completely failed to account for payments

tendered to it/them by her. These included payments for the months of November

2009 through February 2010.

                                      45.
      Subsequent to the Modification taking effect, Plaintiff continued to timely

and properly submit/transmit installment payments each month to BOA/BAC, and

BOA/BAC has acknowledged and admitted that it has timely received said

payments each month and has never alleged or suggested otherwise. In fact this

fact has never been disputed by BOA/BAC.

                                      46.
      Alternatively and or additionally, BOA/BAC was, at the absolute, least,

grossly negligent in its misappropriation or failure to accurately and competently

account for its receipts of Plaintiff's payments with due care.

                                 47.
      In or about January 2010, when Plaintiff began receiving harassing


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collection telephone calls from BOA/BAC [whom, as explained in more detail

infra., is a third party debt collector subject to the FDCPA], Plaintiff realized that

Defendants BOA/BAC were internally reporting erroneous and derogatory

account/credit/payment information concerning her and her mortgage/loan/payment

history. Naturally she also then became concerned about the fact that such erroneous

and derogatory account/credit/payment information was likely to be inaccurately

reported by Defendants BOA/BAC to third parties, such as the CRA Defendants.

                                       48.
       Thereafter, at some point in or about [but not earlier than] the middle of

January 2010, Plaintiff independently and directly reviewed her Consumer Credit

Reports, which was when she first learned that erroneous and derogatory

payment/credit related information was being published/transmitted to various third

parties, including, but not necessarily limited to, the "big three" national Consumer

Credit Reporting Agencies; namely Defendants Equifax, Experian and Trans

Union. 9

                                  49.
       Based upon her review of information being reported by the CRA

Defendants, Plaintiff has determined that the BOA Defendants have been

9
         Plaintiff has not yet reviewed any such reports or information maintained or reported by
any other CRAs or other entities, but believes that other entities (e.g. Innovis - see, e.g., 03/24/10
letter from BOA to Plaintiff) may in fact be reporting similar erroneous derogatory information).


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knowingly and willfully transmitting and reporting erroneous and derogatory

payment/credit information pertaining to Plaintiff without the maximum possible

accuracy at some or all times from approximately November 2009 up to and at

least including October of 2010. 10 For example, "3 Bureau Merged Credit Report"

[#F62524092] from "ChaseIDProtection", dated September 1, 2010 [but not

obtained/reviewed until many months later], shows an alleged past due balance of

$11,420 as reported by TransUnion, $1,630 as reported by Experian and $0.00 as

reported by Equifax. Obviously, pretermitting the fact that all such information is

false and erroneous, two of the three figures must necessarily be inaccurate "on its

face". This Report also erroneously reflects that Plaintiff's Credit Line had been

suspended. Similar erroneous information has been gleaned from Reports

maintained and issued by the CRA Defendants directly.

                                        50.
       After becoming aware of this erroneous and derogatory reported information,

Plaintiff [directly/personally] disputed same in writing with each of the three CRAs

on at least three (3) separate occasions. See, e.g., Exhibits "I", "I-2" and "J" attached

hereto. And despite BOA/BAC's concomitant admission that the information was

10
         Although much of the information and exact timing of the transmittal/publishing of same
is difficult if not impossible to discern [Plaintiff not (yet) being privy to the internal records of
the Defendants], it appears that either or both one or more of the CRA and or the BOA
Defendants have perhaps at some point suspended reporting of the erroneous information but
subsequently [unlawfully and erroneously] resumed and or "re-polluted" the
transmission/publishing/inclusion of said information.

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indeed inaccurate - as evidenced by, among other things, the numerous letters it sent

to Plaintiff [and eventually, her undersigned counsel] wherein it alleged it had

notified the CRAs about the "errors" and had purportedly requested that it

correct/modify it accordingly - the CRAs AND BOA/BAC nevertheless stubbornly,

egregiously, willfully and unlawfully either or both wrongfully verified and or

refused to correct it.

                                        50.
       After Plaintiff retained the undersigned counsel, he too prepared and sent

(via Certified U.S. Mail) separate/additional notices and "demand letters" to the

CRA Defendants and Defendants BOA/BAC [and even Countrywide, in the

abundance of caution], wherein he explained in great detail the basis for the

dispute(s) and enclosed [in addition to written Authorization form(s) from Plaintiff]

additional/new objective documentary evidence unequivocally substantiating

Plaintiff's position and contentions as to the inaccuracy of the reported information

and demanded, in the case of the CRAs, that they correct and cease reporting it,

and in the case of BOA/BAC, that it/they cease willfully, erroneously and

unlawfully verifying it. See, e.g., letters dated June 3, 2010 directed via Certified

U.S. Mail to each of the three CRA Defendants attached hereto as Exhibits "K",




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"L" and "M". 11 Each of the aforementioned letters was received by the CRAs on

either June 10th or 11th per USPS records. See attached Exhibit "N".

                                    51.
       Generally speaking, the CRA Defendants' responses to these letters were

inadequate and confusing at best. And suffice it to say that to the extent any

modifications/corrections to Plaintiff's Reports were made by any of the CRAs,

they    were     only     temporary,     and,     notwithstanding,      the    information

maintained/published by each CRA was still being reported without the maximum

possible accuracy required by law and Plaintiff's Reports were soon re-polluted

with equally or greater false and inaccurate negative information.

                                    52.
       The BOA Defendants have acknowledged the credit reporting "errors" since as

early as March 25, 2010, when the first "credit adjustment confirmation letter" was issued,

and have been promising in writing to correct the false and erroneous information since at

least that date and on numerous subsequent occasions, such as on May 19, 2010, July 29,

2010 and October 12, 2010. See Exhibits "O", "P", "Q" and "R" attached. Yet Plaintiff's

Credit Reports either continued to contain the erroneous information and or have been re-

polluted virtually the entire time between March of 2010 and present.

11
       Plaintiff's Counsel also copied numerous governmental agencies on said letter(s),
including the FTC, the FCRA Consumer. Response Center, the OCC, the Federal Reserve's
Consumer Assistance Division, the Office of Thrift Supervision's Consumer Complaints Division
and the FDIC's Consumer Response Center.

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                                    53.
      As a result of the unlawful actions described herein and during times

relevant thereto, numerous adverse actions against Plaintiff and her financial

interests were taken not only by Defendants BOA/BAC, but also by other creditors

as a direct result of the erroneous derogatory information that had been knowingly

and unlawfully reported by the CRA Defendants and knowingly and unlawfully

transmitted/verified by the CRAs.

                                  54.
      For example, on March 22, 2010 Defendant BOA suspended Plaintiff's

overdraft/line of credit account based on inaccurate information it obtained from

[however ironically, for it of course also necessarily had the same false information

in its own internal records], and that was published by, Defendant Trans Union. On

the same date (03/22/10) Defendant BOA also reduced Plaintiff's VISA credit card

limit from $17,000 to $5,400, likewise based on inaccurate information it obtained

from Trans Union. And on or about March 25, 2010, Discover Card/Bank reduced

Plaintiff's credit [card] limit, expressly as a result of the erroneous derogatory

information that had been knowingly and unlawfully transmitted to, reported and

verified by Defendant TransUnion - and knowingly and unlawfully transmitted and

verified by the BOA Defendants. See Exhibits "S", "T" and "U" attached hereto.

These torts resulted in actual damages to Plaintiff.


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                                      55.
      In addition and as noted above, Plaintiff's Credit Scores were substantially

depressed as a result of the intentional unlawful actions described herein.

                                    56.
      The aforementioned actions each had an actual, empirical and adverse

impact on Plaintiff and caused her to suffer stress, embarrassment, humiliation,

worry, anxiety, and other emotional distress.

                                         57.
      It is also worth noting that the only derogatory information contained/being

reported in/on Plaintiff's Consumer Credit Reports is that which has been

unlawfully and erroneously reported by the BOA Defendants. And prior to said

derogatory reporting Plaintiff's Credit Scores were substantially higher.

                                58.
      Defendants BOA/BAC has been frequently and continuously harassing

Plaintiff since at least March 2010 - even after retaining the undersigned and after

he communicated his representation to them - in the course of its unlawful attempts

to collect monies not due and owed to it, and this has caused considerable worry,

stress and anxiety for Plaintiff.

                                     59.
      At or near the end of July 2010 Plaintiff received letter from BOA dated

July 24, 2010 enclosing a [non-negotiated] check in the amount of $824.89, stating



                                         30
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that it allegedly did not receive the required amount due to satisfy the full payment

for May 2010. Plaintiff then contacted BOA Customer Service department

regarding the check, and the BOA representative stated that the letter and check

were allegedly sent "in error". See Exhibit "V" attached.

                                    60.
      In addition to the wrongful “holding” of Plaintiff’s payments, specific

payments are not accounted for in her BOA/BAC transaction history, including

those for November and December 2009 and January and February 2010.

                                      61.
      Plaintiff’s monthly mortgage statements are also erroneous; they contains

inaccurate allegedly past due balances, the assessment of erroneous and unwarranted

late fees. The Transaction History reports are also inaccurate, containing misapplied

funds, omitted payments [specifically November 2009 through August 2010] and

numerous payment reversals that appear to not make any sense.

                                     62.
      Plaintiff received unwarranted and unlawful debt collection calls for

payments already received but “hidden” in the BOA Defendants' system(s). The

most recent barrage of calls occurred on June 24, 2010, June 25, 2010 and June

30, 2010 for the June 2010 payment that had already been received [withdrawn

from her bank account electronically] on June 15th 2010.

                                        63.

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      On June 21, 2010 Plaintiff received a late notice letter from BOA stating

that it wanted to make her aware of a "foreclosure prevention program for active

military service members". This notice was and is obviously erroneous, misplaced

and inapplicable to Plaintiff. See Exhibit "W" attached.

                                       64.
      On July 16, 2010 Plaintiff received an erroneous and unlawful notice/letter

from BOA dated July 8, 2010 about its intent to accelerate the loan, which

incorrectly indicated an alleged past due balance of $9,814.38. See Exhibit "X"

attached. In response, Plaintiff naturally became very anxious, upset and worried

and contacted BOA/BAC customer service, whereupon its agent told her to

disregard it. Plaintiff replied that it was unreasonable for BOA not to prevent such

letters to go out to customers with knowledge they will or are likely to cause

unnecessary and unwarranted anxiety and stress for its customers.

                 IV    ENUMERATED CAUSES OF ACTION
                        (A)    FEDERAL LAW CLAIMS
                                    Count One
        Violations of Real Estate Settlement Procedures Act ("RESPA")
                            [12 U.S.C. § 2601 et seq.]
                                 65.
      The BOA Defendants have demonstrated and continue to demonstrate a

pattern and practice of repeatedly and intentionally/knowingly violating 12 U.S.C.

2601 et seq. [also known and referred to as the Real Estate Settlement Procedures

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Act of 1974 or "RESPA", the "Cranston-Gonzalez National Affordable Housing

Act" and or "Regulation X"] on numerous occasions in conjunction with the

servicing of Plaintiff's Loan/Account at issue in this case.

                                         66.
      As noted herein, Plaintiff sent - either directly by her or by her undersigned

attorney, Auden L. Grumet, Esq., numerous properly identified, addressed and

otherwise legally compliant "Qualified Written Request(s)" ["QWR"] to the BOA

Defendants regarding the Account/Loan at issue and the legitimate, repeated,

varied and persisting problems and errors pertaining to same.

                                       67.
      The statute(s) violated by the BOA Defendants include, but is not limited to,

12 U.S.C. § 2605(e), which they violated repeatedly and on multiple occasions by

failing to timely or properly acknowledge Plaintiff's Qualified Written Requests as

noted elsewhere herein. See, e.g., letter Exhibits cited herein.

                                          68.
      In addition, the BOA Defendants violated 12 U.S.C. § 2605(e) by failing to

timely and or sufficiently respond or to make the corrections/take the corrective

action identified in [e.g. the crediting of late penalties] in response to the numerous

Plaintiff's Qualified Written Requests as noted elsewhere herein. Id.

                                          69.
      In addition, the BOA Defendants violated 12 U.S.C. § 2605(e) by failing to

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transmit or to timely transmit written notice of such corrections to Plaintiff after

receipt of each of Plaintiff's Qualified Written Requests.

                                          70.
      In addition, the BOA Defendants violated 12 U.S.C. § 2605(e)(2)(C) by

failing to provide Plaintiff with the information and documentation requested in

her QWRs, or an explanation why the information sought was unavailable, no later

than 60 days after receipt of the Plaintiff’s qualified written request.

                                          71.
      In addition, the BOA Defendants violated 12 U.S.C. § 2605(e)(2) by

refusing and or failing to cease its collection efforts after receiving Plaintiff's

QWRs.

                                          72.
      In addition, upon information and belief, the BOA Defendants violated 12

U.S.C. § 2605(e)(3) by providing erroneous information to one or more Consumer

Reporting Agencies regarding overdue payments allegedly owed by Plaintiff that

were related to her QWRs.

                                          73.
      The aforementioned actions and inactions by BOA/BAC demonstrate a

pattern and or practice of violating the applicable law [and or with such conscious

disregard for the likely consequences of their actions so as to give rise to a



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presumption of willfulness (or, alternatively, at the very least, as a result of gross

negligence)]. The BOA Defendants are therefore liable to Plaintiff for statutory and

actual damages, attorney's fees and costs for each such failure/violation pursuant to

12 U.S.C. § 2605(f) [in addition to any other applicable statute, regulation, law or

similar provision].

                                          74.
      The BOA Defendants have also demonstrated a pattern of intentionally [and

or with such conscious disregard for the likely consequences of their actions so as

to give rise to a presumption of willfulness (or, alternatively, at the very least, as a

result of gross negligence)] violating 12 U.S.C. § 2605(g) and 42 U.S.C. § 4012a

by repeatedly and on numerous separate occasions - and - failing to comply with

said statute(s)' requirements as related to the "Administration of Escrow Accounts".

In particular, the BOA Defendants have failed to accurately account for monies

tendered and [which should be] existing in Plaintiff's account and otherwise

negligently or willfully mishandling, misapplying and or miscalculating the funds

therein. The BOA Defendants are therefore liable to Plaintiff for statutory and

actual damages, attorney's fees and costs pursuant to §§ 2605(f) and 4012a(f).

                                     Count Two
       Violations of the Home Affordable Modification Program ("HAMP")
                                          75.


                                          35
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      Servicers handling loans for all eligible Fannie Mae portfolio mortgage

loans and MBS pool mortgage loans guaranteed by Fannie Mae are required to

participate in the Home Affordable Modification Program ("HAMP"), implemented

under the Emergency Economic Stabilization Act of 2008 (“ESSA”). See, e.g.,

Announcement 09-05 R April 21, 2009, cited supra.

                                          76.
      As noted above, upon information and belief, Plaintiff's loan is owned or

"backed" by Fannie Mae ("FM") and is therefore subject to its rules and regulations. Id.

                                          77.
      Alternatively or additionally, upon information and belief, at all relevant

times Plaintiff's home loan has been an eligible Fannie Mae portfolio mortgage

loan or MBS pool mortgage loan guaranteed by Fannie Mae.

                                          78.
      As announced in FM's Supplemental Directive 09-01, in order for a servicer to

participate in the HAMP, the servicer must execute a servicer participation

agreement and related documents with Fannie Mae in its capacity as financial agent

for the United States (as designated by Treasury). See ESSA § 101(c)(3) and

https://www.efanniemae.com/sf/mha/mhamod. As noted above, Plaintiff has not yet

obtained a copy of said agreement - because BOA/BAC has refused and failed to provide

it. However, either there is such an agreement to which the BOA Defendants are bound


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or there is not, in which case the BOA Defendants violated its contract with FM and thus

breached its legal obligations to Plaintiff and otherwise committed various torts.

                                             79.
       According to the aforementioned Announcement,
        As a result of such direction from HUD, this section of the Announcement is
        incorporated by reference into the Mortgage Selling and Servicing Contract
        between Fannie Mae and its servicers and constitutes an agreement entered
        into between Fannie Mae, on behalf of HUD, and Fannie Mae’s approved
        servicers. As such, this is an agreement entered into by Fannie Mae’s approved
        servicers with an enforcement agency (i.e., HUD) to permit the enforcement
        agency to monitor or enforce compliance with federal law, within the
        meaning of 12 C.F.R. 202.5(a)(2).

Id. at 5 (emphasis supplied). Therefore, BOA/BAC, as the servicer of the loan at

issue, is contractually bound by the terms and conditions as set out by FM under its

agreements with FM loans serviced by it.

                                             80.
       HAMP is governed by documents issued by Treasury and designated in the

HAMP. These documents include uniform “Home Affordable Modification

Program Guidelines” (“Guidelines”), subsequent Supplemental Directives,

Announcements and “Frequently Asked Questions” (“FAQs”) intended to further

clarify HAMP program requirements.

                                             81.
       According to the Announcement, under HAMP, servicers will use a uniform loan

modification process to provide eligible borrowers with sustainable monthly payments.

The HAMP implementation guidelines set forth therein apply to all eligible one-to four-

                                             37
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unit owner-occupied properties securing Fannie Mae portfolio mortgage loans and

MBS pool mortgage loans guaranteed by Fannie Mae. All Fannie Mae-approved

servicers must participate in the program for all eligible Fannie Mae portfolio mortgage

loans and MBS pool mortgage loans guaranteed by Fannie Mae. Id. at 5.

                                           82.
      Importantly, "[A] borrower who is current, contacts the servicer for a

modification, appears potentially eligible for a modification, and has suffered an

eligible hardship (as described above) must be evaluated using the imminent

default screen…." Id. (emphasis supplied). Plaintiff's financial condition was

sufficient to pass the screen, as the Approval reflects.

                                           83.
      The BOA Defendants violated the contractual terms as set out by Fannie

Mae in the Announcement, cited supra., and various other related guidelines and

directives issued to them or to which they are otherwise lawfully bound.

                                           84.
      For example, under the heading entitled "Compliance with Applicable

Laws" the Announcement states in no uncertain terms [in relevant part] that,

        "Fannie Mae reminds each servicer (and any subservicer it uses) to be
        aware of, and in full compliance with, all federal, state, and local laws
        (including statutes, regulations, ordinances, administrative rules and
        orders that have the effect of law, and judicial rulings and opinions),
        including, but not limited to, the following laws that apply to any of its
        practices related to the HAMP…" (emphasis supplied)

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It then goes on to specifically cite Section 5 of the Federal Trade Commission Act ("which

prohibits unfair or deceptive acts or practices…"); The Real Estate Settlement

Procedures Act (RESPA) and The Fair Debt Collection Practices Act. Id. at 14. See also

http://www.dailyreportonline.com/Editorial/News/singleEdit.asp?individual SQL=11

/1/2010@36471&amp;rssFeed=free generally.

                                              85.
      The Announcement also provides credit reporting guidelines that the BOA

Defendants violated as noted elsewhere herein. Id. at 29 (emphasis supplied).

                                              86.
      The Announcement also instructs servicers that,
           When discussing the HAMP, the servicer should provide the borrower with
           information designed to help the borrower understand the modification
           terms that are being offered and the modification process. Such
           communication should help minimize potential borrower confusion,
           foster good customer relations, and improve legal compliance and reduce
           other risks in connection with the transaction. A servicer also must
           provide a borrower with clear and understandable written
           information about the material terms, costs, and risks of the
           modified mortgage loan in a timely manner to enable
           borrowers to make informed decisions.
           The servicer should inform the borrower during discussions that a
           modification under the HAMP will cancel any assumption, variable or step-
           rate feature, or enhanced payment options…in the borrower’s existing loan,
           at the time the loan is modified.

           Fannie Mae expects servicers to have adequate staffing, resources and
           facilities for receiving and processing the HAMP documents and any
           requested information that is submitted by borrowers. Servicers must have
           procedures and systems in place to be able to respond to inquiries and
           complaints about the HAMP. Servicers should ensure that such inquiries


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          and complaints are provided fair consideration, and timely and
          appropriate responses and resolution. (emphasis supplied)
      Id. at 15. The BOA Defendants violated these requirements as conveyed in
the Announcement.
                                              87.
      The BOA Defendants have also violated the late fee rules that instruct

servicers "[A]ll late charges, penalties, stop payment fees or similar fees must be

waived upon successful completion of the trial period." Id. at 30.

                                              88.
      In addition, according to relevant portions of paragraph 8.4 of the

Announcement, entitled "Application of Trial Period Payments",

          Trial period payments must be applied in accordance with the terms of the
          existing loan documents. A servicer should not change a borrower’s
          scheduled loan terms in its servicing system and/or mortgage file
          during the trial period. If permitted by the applicable loan documents,
          servicers may accept and hold as "unapplied funds" (held in a T&I custodial
          account) amounts received which do not constitute a full monthly,
          contractual principal, interest, tax and insurance (PITI) payment. However,
          when the total of the reduced payments held as "unapplied funds" is equal to
          a full PITI payment, the servicer is required to apply all full payments to
          the mortgage loan. Any unapplied funds remaining at the end of the
          trial payment period that do not constitute a full PITI payment should
          be applied to reduce any amounts that would otherwise be capitalized
          onto the principal balance. The borrower may make scheduled payments
          earlier than expected; however, the payments will not result in acceleration
          of the modification effective date. Servicers are encouraged to require
          automated payment methods, such as automatic payment drafting. If
          automatic payment drafting is required, it must be used by all HAMP
          borrowers, unless a borrower opts out.
          If the borrower makes a payment that is greater than his or her trial
          period payment (e.g., the existing contractual monthly payment rather
          than the trial period payment), the servicer must review investor guidelines
          to determine if the borrower remains eligible for HAMP and, if making
          the contractual payment could jeopardize eligibility, notify the borrower in

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           writing that making payments in excess of the trial period payment may
           jeopardize the borrower’s eligibility for a HAMP modification…In no event
           should the servicer return the funds to the borrower.
                                       89.
      In addition, the BOA Defendants violated Freddie Mac's contractual provisions,

rules, industry standards and applicable law by, upon information and belief, failing to

flag or appropriately notate Plaintiff's loan file about the loan modification. See, e.g.,

Fannie     Mae       Single-Family       Seller/Servicer      Guide      (Guide)       Bulletin

(12/12/08)[http://www.freddiemac.com/sell/guide/bulletins/pdf/bll121208.pdf] at 4

(Guide section B65.21.1. The collection and servicing records should have been changed

to reflect the new loan, the effective full payment of all amounts due and the forgiveness

of late fees. Instead, the servicing records reflect that the amount due was not changed,

the late fees were still due. The mortgage records of the Servicer must be updated to

reflect the modified terms as soon as the Modification Agreement has been executed. Id.

      The effect of these failures was to make the loan in BOA's records

erroneously appear to be in default as of the first payment after the Modification

although it was not, which in turn caused Plaintiff's early Modification payments to

be placed in "suspense", which again made payments appear even further behind,

all of which generally led BOA to erroneously and wrongfully treat the mortgage

as one being in default.

                                      90.
      Further, upon information and belief, the BOA Defendants compounded the


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confusion by failing to send accurate periodic loan statements or coupon books

outlining exactly what the payment would be after the Modification and the

breakdown of same.

                                    91.
      Even assuming for argument's sake that there was a delinquency of some

kind on Plaintiff's part after the Modification, FM policies require that immediate

contact be made in such circumstances - “The servicer must extend additional

efforts to a Borrower whose Mortgage has been modified under the loan

modification workout option. To deter recurrence of default, the Servicer must:

Ensure the [borrower] has received updated payment coupons prior to the due date

of the first payment; During the first three months after the mortgage is modified,

call the Borrower within the five business days after the payment due date if they

have not remitted their payment…[and] Call the borrower by the 10th day of

delinquency if the payment has not been received. Yet, assuming BOA somehow

contends Plaintiff was delinquent, none of these procedures were followed.

                                   Count Three
  Violations of the Fair Credit Billing Act ("FCBA")[15 U.S.C. § 1666 et seq.]
                                        92.
      The BOA Defendants violated 15 U.S.C. § 1666 et seq. on numerous

occasions by failing to timely acknowledge Plaintiff's properly issued Notice(s) of

Billing Error(s) in accordance therewith.

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                                              93.
      The BOA Defendants violated 15 U.S.C. § 1666 et seq. on numerous

occasions by failing to timely and or sufficiently respond to Plaintiff's properly

issued Notice(s) of Billing Error(s) in accordance therewith.

                                              94.
      For example, in a letter dated June 10, 2010, Plaintiff, through her attorney,

wrote to Defendants BOA and BAC via Certified U.S. Mail (Article No.: 7005

3110 0003 7895 8645) and stated in relevant part as follows,

         Among other things, this letter and notice is…also being issued pursuant to
         and in conjunction with the Truth in Lending ["TILA"], Fair Credit Billing
         ["FCBA"], Fair Credit Reporting ["FCRA"] and Fair and Accurate Credit
         Transactions [FACTA] Acts. Specifically, any and all indications in, on or
         about Ms. Stroman's account or contained in your records that reflect that she
         was allegedly late or delinquent in paying, or failed to submit payment, in
         conjunction with this account during the months of November 2009
         through at least May of 2010 [or at any other time] are completely
         erroneous and inaccurate. ALL periodic payments due on this account
         have, as BOA/BAC admits, always been timely and properly tendered and
         otherwise in compliance with any applicable contractual obligations.
      See Exhibit "Y" attached.
                                              95.
      In addition, in a letter dated July 29, 2010, Plaintiff, through her attorney,
wrote to Countrywide Home Loans [the predecessor loan servicer to BOA] and
Bank of America, via Certified U.S. Mail (Article No.: 7005 3110 0003 7895
7303), and stated in relevant part as follows,
         Among other things, this letter and notice is…also being issued pursuant to and
         in conjunction with the Truth in Lending ["TILA"], Fair Credit Billing
         ["FCBA"], Fair Credit Reporting ["FCRA"] and Fair and Accurate Credit
         Transactions [FACTA] Acts. Specifically, any and all indications in, on or
         about Ms. Stroman's account or contained in your records that reflect that she


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         was allegedly late or delinquent in paying, or failed to submit payment, in
         conjunction with this account during the months of November 2009
         through at least May of 2010 [or at any other time] are completely
         erroneous and inaccurate. ALL periodic payments due on this account have,
         as Countrywide/BOA/BAC admits, always been timely and properly tendered
         and otherwise in compliance with any applicable contractual obligations.
         The same is true with respect to any late fees or other charges assessed on
         this account, which are erroneous and hereby disputed [pursuant to RESPA,
         the FCRA, FCBA and or any other applicable law or principle, including
         basic contract law]. As such, we demand that all erroneous assessments
         and associated charges, fees, interest, etc. - whether past, present or
         future - be immediately removed/credited and her [your] records and
         files regarding her account/loan/mortgage be corrected.
         This letter [and those enclosed herein] are intended and shall serve as a
         reiteration/expansion of and on the previous notices already issued by Ms.
         Stroman directly - both to Bank of America, BAC Home Loans and any
         associated or related entity(s) - in conjunction with the aforementioned
         statutes that my client disputes the accuracy of the information contained in
         various account statements and provided to her and third parties concerning
         the above-referenced loan. See generally, for example, 15 U.S.C. §§ 1637,
         1647, 1666 and 1692.
                                             96.
      The BOA Defendants violated 15 U.S.C. § 1666a(a) on numerous occasions

by directly or indirectly threatening to report, and actually reporting, [erroneous]

adverse credit-related information to one or more third-party(s) in conjunction with

Plaintiff's Account(s) after receiving from Plaintiff properly issued Notice(s) of

Billing Error(s).

                                             97.
      The BOA Defendants also violated 15 U.S.C. § 1666a(b) on one or more

occasions by failing to include, along with their communication of Plaintiff's

[alleged] delinquency to one or more third-parties, notice that Plaintiff disputed



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said amount(s)/debt(s) and by failing to notify and provide to Plaintiff the name

and address of each party to whom it reported such information after receiving

properly issued Notice(s) of Billing Error(s).

                                          98.
      The BOA Defendants violated 15 U.S.C. § 1666(c) on one or more

occasions by prematurely taking "action" to collect amounts allegedly due on

Plaintiff's Account(s) after having received Notice(s) of Billing Error(s).

                                          99.
      The BOA Defendants violated 15 U.S.C. §§ 1666a(b) and or 1666a(d) by

failing to promptly and or timely credit or refund one or more payment(s) and or

excess payment(s) submitted/tendered by Plaintiff.

                                         100.
      Alternatively and or additionally, the BOA Defendants violated the FCBA by

failing to provide or to timely provide information as to how it allegedly confirmed

the validity/accuracy of the error/billing entry and or to issue the required notice(s)

of correction of such errors to other creditors.

                                     Count Four
Violations of the Fair Credit Reporting and Fair & Accurate Credit Transactions Acts
                    (FCRA - FACTA)[15 U.S.C. § 1681 et seq.]
                                         101.
      Defendants Equifax, Experian and TransUnion are all national Consumer

Credit Reporting Agencies ("CRAs") as defined by 15 U.S.C. §§ 1681 et seq. [Fair

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Credit Reporting and Fair and Accurate Credit Transactions Acts]("FCRA").

                                           102.
      The CRA Defendants have, upon information and belief, willfully committed

one or more violations of 15 U.S.C. §§ 1681 et seq. [Fair Credit Reporting and Fair

and Accurate Credit Transactions Acts] by intentionally, willfully, knowingly [and or

negligently] and repeatedly failing to report information pertaining to Plaintiff with

the maximum possible accuracy and or as otherwise required by law - including as

identified above in conjunction with Fannie Mae's HAMP Announcement.

                                           103.
      In addition, the Announcement heading entitled "Credit Bureau Reporting"

states as follows:

          In accordance with the Servicing Guide, Part VII, Section 107: Notifying
          Credit Repositories, the servicer should continue to report a “full-file”
          status report to the four major credit repositories for each loan
          under the HAMP in accordance with the Fair Credit Reporting Act
          and credit bureau requirements as provided by the Consumer Data
          Industry Association (the “CDIA”) on the basis of the following:

          For borrowers who are current when they enter the trial
          period, the servicer should report the borrower current but
          on a modified payment if the borrower makes timely
          payments by the 30th day of each trial period month at the
          modified amount during the trial period, as well as report
          the modification when completed.

          "Full-file" reporting means that the servicer must describe
          the exact status of each mortgage loan it is servicing as of the
          last business day of each month.

Id. at 29 (emphasis supplied). The BOA Defendants did not follow these rules with

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respect    to   Plaintiff.   See   also   Fannie   May     Borrower     FAQ     at      12

(http://makinghomeaffordable.gov/docs/BORROWER%20FAQs 6-8-10.pdf).

           Each month, servicers must describe to the credit reporting
           agencies the exact status of each mortgage. If you are current
           with your mortgage payments prior to the trial period and
           you make each trial period payment on time, your servicer
           must report you as current and also identify the loan as
           “modified under federal government plan.”

           If you are delinquent (at least 30 days past the due date)
           prior to the trial period and the reduced payments do not
           bring the account current, your servicer must report the
           level of delinquency and also identify the loan as “modified
           under federal government plan.”
                                          104.
      The CRA Defendants have, upon information and belief, willfully committed

one or more violations of 15 U.S.C. § 1681i by failing to abide by and or to timely

comply with the requirements pertaining to disputed accuracy and reinvestigation

procedures upon being notified by Plaintiff [and or her attorney/agent] that the

accuracy of the information was disputed.

                                          105.
      Additionally and or alternatively, the CRA Defendants have, upon information

and belief, negligently committed one or more violations of 15 U.S.C. § 1681i by

failing to abide by and or to timely comply with the requirements pertaining to

disputed accuracy and reinvestigation procedures upon being notified by Plaintiff [and

or her attorney/agent] that the accuracy of the information as reported was disputed.

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                                        106.
      Additionally and or alternatively, the CRA Defendants have, upon

information and belief, negligently or intentionally committed one or more

violations of 15 U.S.C. § 1681i(a)(3) pertaining to reinvestigation procedures by

erroneously, arbitrarily, unilaterally and unfairly determining that one or more

disputes/notices issued by Plaintiff was allegedly frivolous or irrelevant [see, e.g.,

February 16, 2010 letter from TransUnion] despite having received the June 3,

2010 letter from Plaintiff's counsel wherein he specifically noted as follows:

         However, this letter and notice is not limited to any particular
         report or document, but rather is meant to address any and
         all reports and any other credit/financial or analogous
         information pertaining to Ms. Stroman that is collected, received,
         compiled, maintained, published and or disseminated by
         Experian, its agents, employees and or related persons or entities.

         Furthermore, this letter is not and should not be construed as
         merely a reiteration or re-assertion of the same or
         substantially    similar      errors/inaccuracies.     Rather,
         new/additional information and evidence is being provided
         and new/additional errors/inaccuracies have been identified.
         (Emphasis supplied)
                                        107.
      The BOA Defendants have, upon information and belief, willfully committed

one or more violations of 15 U.S.C. §§ 1681 et seq. [Fair Credit Reporting and Fair

and Accurate Credit Transactions Acts] by intentionally, willfully, knowingly [and or

negligently] and repeatedly failing to provide accurate information to one or more



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Consumer Credit Reporting Agencies and or by reporting such inaccurate

information despite knowing or having reasonable cause to believe it was inaccurate.

                                              108.
       The BOA Defendants have, upon information and belief, willfully committed

one or more violations of 15 U.S.C. § 1681s-2 et seq. [Fair Credit Reporting and

Fair and Accurate Credit Transactions Acts] by intentionally, willfully, knowingly

and repeatedly failing to provide accurate information to one or more Consumer

Credit Reporting Agencies and or by reporting such inaccurate information despite

knowing or having reasonable cause to believe it was inaccurate. 12 Id.

                                              109.
       The BOA Defendants have, upon information and belief, willfully committed

one or more violations of 15 U.S.C. § 1681s-2(b) by failing to abide by and or to

timely comply with the requirements pertaining to the investigation and

verification of information after being notified by the CRAs that Plaintiff disputed

the accuracy of the information as reported. Id.

                                              110.
       Additionally and or alternatively, the BOA Defendants have, upon


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        Although Plaintiff recognizes that most courts to consider the issue have found that no
private right of action exists in favor of consumers directly against furnishers who violate §
1681s-2(a)(1) by providing inaccurate information to CRAs, these facts are relevant to other
issues, such as establishing overall bad faith, patterns and practices and with respect to certain
non-preempted common law claims - e.g. defamation - as described herein. See also 74 Fed.
Reg. 31,484 (July 1, 2009) and 15 U.S.C. § 1681s-2(a)(8).

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information and belief, negligently committed one or more violations of 15 U.S.C.

§ 1681s-2(b) by failing to abide by and or to timely comply with the requirements

pertaining to the investigation and verification of information after being notified

by the CRAs that Plaintiff disputed the accuracy of the information as reported. Id.

                                             111.
      Additionally and or alternatively, the CRA Defendants violated and or failed to

comply with various other provisions of 15 U.S.C. § 1681i et seq. by, for example,

failing to respond to or provide the information and documentation, and or issue the

notices, as requested by Plaintiff below. See, e.g., certified letters of June 3, 2010

from Plaintiff's counsel to CRA Defendants, cited above, wherein he wrote as follows:

         I am also formally requesting that you provide me with a
         description of how you verified the information in her [your]
         Report, including a description of the procedure used to
         determine the accuracy and completeness of the information,
         and the business name, address and telephone number of any
         furnisher(s) of information you contacted in connection with
         same pursuant to 15 U.S.C. § 1681i(a)(6)(B)(iii) [although this
         does not relieve you from investigating further].

         Further, on behalf of Ms. Stroman, demand is hereby made that, following
         the deletion or correction of any derogatory information, you
         provide notice to past recipients of her Report(s) indicating
         what information was incorrect and what has been changed.
         See 15 U.S.C. § 1681i(d). Request is also made for you to provide me with
         a current [corrected] version of Ms. Stroman's Consumer Credit Report
         along with any Credit Score or related numerical or other information you
         are required to provide pursuant to 15 U.S.C. § 1681g(f) and that you
         provide me with any and all information/documentation pertaining to "[T]he
         dates, original payees, and amounts of any checks upon which is based any
         adverse characterization" of Ms. Stroman included in [her] file pursuant to
         15 U.S.C. § 1681g(a)(4).

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         Demand is also made for you to disclose and provide any and all
         information/documentation pertaining to the following pursuant to 15
         U.S.C. § 1681g(a)(3):
         The identification - including the name(s) or, if applicable, the trade name
         [written in full] under which such person/entity conducts business - and the
         address and telephone number of each person(s) [including each end-user
         identified under section 1681e (e)(1)] that procured Ms. Stroman's
         Consumer Credit Report for employment purposes, during the preceding
         two (2) years or for any other purpose during the preceding one (1) year;
         and record of all inquiries received by you during the preceding one (1) year
         that identified Ms. Stroman in connection with a credit or insurance
         transaction that she did not initiate.
                                        112.
      Alternatively and or additionally, the CRA Defendants violated and or failed

to comply with various other provisions of 15 U.S.C. § 1681i(a)(5) by failing to

promptly delete the inaccurate and/or unverified information from Plaintiff’s

consumer Report/File after being requested to do so.

                                            113.
      Alternatively and or additionally, the CRA Defendants violated the FCRA's

provisions pertaining to the reinsertion of previously deleted material.

                                            114.
      Alternatively and or additionally, the CRA Defendants violated the FCRA's

provisions regarding the notification and or deletion requirements pertaining to

disputed information.

                                            115.
      Additionally, and more specifically, the CRA Defendants [also] violated and

or failed to comply with various other provisions of 15 U.S.C. § 1681i(4) by failing


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to "review and consider all relevant information submitted by [Plaintiff] in the

period described in paragraph (1)(A) with respect to such disputed information".

See, e.g., Plaintiff's counsel's letters of June 3, 2010, cited supra., sent to each of

the CRA Defendants via Certified Mail, Return Receipt Requested [and in the case

of Equifax, also by facsimile], wherein he cited to Plaintiff's previous

correspondence and of her having already provided each Defendant CRA with very

relevant information and documentation/evidence, including letters from the

BOA Defendants themselves, and wrote,

         And despite her having provided you with such documentation,
         you nevertheless failed and refused in bad faith to correct same.
         See letter dated 03/24/10 from BOA Home Loans and 03/25/10
         letter from BOA's Office of the CEO and President, both
         enclosed herein, each of which conveys in no uncertain terms
         the fact that the negative information reported for all relevant
         periods was erroneous - and the 03/24/10 letter states that it
         had allegedly submitted a request to each of the CRAs on
         03/24/10 to correct all such negative account information.

         To be sure, Ms. Stroman just received two additional letters from BOA, both
         dated 05/19/10 (received approximately one week ago) [also enclosed]
         wherein it again acknowledges her credit report "adjustment request" and
         again claims to have contemporaneously submitted an associated request to
         you. Obviously Experian and BOA continue to blatantly, willfully and
         egregiously violate the FCRA, and this case epitomizes the context in which a
         matter is reported without the maximum possible accuracy as described under
         15 U.S.C. § 1681e(b), as well as other statutes and caselaw.

         In sum, you are hereby directed to immediately either (1) remove any and all
         derogatory information related to the above-referenced accounts/debts or, in
         the unlikely event you (unlawfully) fail or chose not to timely correct said
         information in a manner consistent with these instructions and so as to report
         it with the maximum possible accuracy or to otherwise disregard the facts
         and evidence referenced herein as a sufficient and proper basis to comply

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         with these requests, (2) contact the original creditor - making sure to
         specifically address and ask about the evidence cited/provided herein - and
         obtain verification, substantiated by not inconsistent objective documentary
         evidence, of the maximum accuracy of this information in accordance with
         the facts and law cited, and evidence enclosed, herein. See Morris v.
         Equifax Information Services, 2006 WL 2043567 and Bryant v. TRW, 689
         F2d 72 (6th Cir. 1982).

                                            116.
      The BOA Defendants have even acknowledged and admitted in writing

(and otherwise) having reported such [disputed] inaccurate financial/credit

information and made numerous empty and meaningless false promises about

correcting/retracting the unlawful and inaccurate reporting of such erroneous

information but wholly and repeatedly failed to follow through with said promises.

See, e.g., exhibits cited herein.

                                            117.
      The BOA Defendants have, upon information and belief, willfully

committed one or more violations of 15 U.S.C. § 1681s-2 et seq. by intentionally

and knowingly failing to provide and or include notice(s) of dispute(s) [sent by

Plaintiff and or her attorney] to the CRA(s) as required. Id.

                                            118.
      The BOA Defendants have, upon information and belief, willfully committed

one or more violations of 15 U.S.C. § 1681s-2 et seq. by intentionally and

knowingly failing to provide and or to timely provide the notice(s) [to Plaintiff]

required therein pertaining to Defendants' reporting or furnishing of negative or


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derogatory information to the Consumer Credit Reporting Agency(s). Id.



                                         119.
      The BOA Defendants have, upon information and belief, willfully

committed one or more violations of 15 U.S.C. § 1681s-2 et seq. by intentionally

and knowingly failing to conduct and or failing to timely conduct the investigation(s)

required thereunder after receiving one or more notices of dispute(s) from Plaintiff

regarding the Account(s) at issue. Id.

                                         120.
      The CRA Defendants have, upon information and belief, willfully committed

one or more violations of 15 U.S.C. § 1681s-2 et seq. by intentionally failing to

correct, and or to timely and promptly correct, modify and or delete the applicable

information and or that could not be verified after Plaintiff notified the CRA

Defendants about the inaccurate, erroneous and or disputed information [and provided

them with documentation substantiating and or supporting the contention(s) as to the

inaccuracy(s)] and requested that it be corrected, modified and or deleted.

                                         121.
      The CRA Defendants violated 15 U.S.C. § 1681s-2(a)(E) on numerous

occasions by failing to timely make the appropriate corrections to Plaintiff's

Account(s) after having received properly issued Notice(s) of Billing Error(s).


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                                         122.
      Defendant Experian also violated - intentionally, egregiously, with malice and

in bad faith - 15 U.S.C. § 1681h(a)(1), regarding "Conditions and form of Disclosure

to      Consumers",         when        demanding         improper        and       or

excessive/information/documentation that was/is not required to be provided by a

consumer and when it refused to respond/investigate or "honor [Plaintiff's] request"

per its letter dated June 11, 2010. Moreover, Plaintiff and or her attorney had already

provided adequate documentation/information to warrant/compel disclosure. See, e.g.,

Menton v. Experian Corp., 2003 WL 941388 (S.D.N.Y. 2003)[unreported](consumer

was not required to provide his Social Security number as “proper identification,” as

defined by FCRA and CRA could have verified consumer's identity with various

alternative forms of identification furnished by consumer).

                                         123.
      Similarly, Defendant Experian also violated the FCRA by unlawfully and

improperly alleging that Mr. Grumet had failed to provide any evidence of a

release/authorization from Plaintiff, despite his having provided it with more than

adequate written notice/ authorization, signed by her, of the his representation and of

her consent/demand that Experian [and all the named Defendants] release to him all

information/documentation necessary or requested in conjunction with his

correspondence or Plaintiff's disputes. Experian thus refused to investigate/attempt


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to verify the disputed information and or to communicate with Mr. Grumet on the

issue. See 06/17/10 letter from Experian attached as Exhibit "Z".

                                           124.
       The BOA Defendants committed a similar tort - intentionally, egregiously,

with malice and in bad faith - when it/they demanded similarly unreasonable

verification/authorization from Plaintiff and or her attorney in response to written

inquiries concerning her loan/dispute.

                                       Count Five
         Violations of the Fair Debt Collection Practices Act ("FDCPA")
                             [15 U.S.C. § 1692 et seq.]
                                           125.
       The [alleged] debt(s) at issue is a consumer debt as defined under the FDCPA.
                                           126.
       The BOA Defendants - and Defendant BAC in particular - is and was at all

relevant times acting in the capacity of a debt collector as defined by 15 U.S.C. §§ 1692a.

                                           127.
       More specifically, upon information and belief and as noted above, the BOA

Defendants, as servicers of Plaintiff's loan/Note and not being the true

owners/holders thereof, are and were acting at all relevant times hereto as debt

collectors under the FDCPA. See 15 U.S.C. § 1692a.

                                           128.
       For example, in a letter dated July 7, 2010 addressed to Plaintiff's counsel,



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"Bank of America Home Loans" (which also refers to itself as "Bank of America"

in the same letter) wrote, in response to Plaintiff's Qualified Written Requests

[issued by Plaintiff's counsel on behalf of Plaintiff] wrote as follows,

          Thank you for contacting our office with your correspondence dated June
          10, 2010. The concerns referenced in your correspondence were forwarded
          to my attention for review and response. 13 In your letter, you expressed
          dissatisfaction with various aspects of the origination of the above-
          referenced loan. You requested Bank of America to provide you
          with numerous copies of documents relating to the
          origination of the subject loan and a loan history including
          fees assessed to the subject loan.
          Below, I have provided a summary of the subject loan. Please note that all
          other requests are declined as they seek documentation that
          goes beyond that which is available through a Qualified
          Written Request made under 12 U.S.C. § 2605(B).
          Signed copies of the available documents pertaining to the origination of the
          subject loan were mailed July 6, 2010. The signatures on these documents
          confirm the borrowers received, read, understood, and agreed to the terms
          and conditions contained within each document. If the borrowers had
          concerns or were not in agreement to the terms and conditions, they were
          under no obligation to sign the loan documents or continue the loan process.

          As you know, Countrywide/Bank of America did not originate
          the subject loan (please refer to the loan documents provided
          under separate cover). As the purchaser of a closed loan,
          Countrywide/Bank of America is not responsible for any
          misunderstanding or lack of communication between the
          borrower and the originating entity….

          The owner of this loan is Fannie Mae, whose address is 13150
          World Gate Dr., Herndon, VA 20170. Bank of America
          services the loan on behalf of the owner.

13
        This letter is also misleading to the extent it refers to having been forwarded to "my
attention for review and response", but yet it is not even signed and merely contains the generic
typewritten phrase "Customer Service".

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         Please note that a credit block was placed while the issues in
         your letter were addressed. However, as of the date of this
         letter, the block has been removed. Further as a member of the
         credit granting community, Bank of America, like most creditors,
         relies on the accuracy and validity of the information obtained
         from the various reporting agencies. Therefore, we will not
         remove the negative credit reporting from our customer's
         credit file. (Emphasis supplied).
See attached Exhibit "AA". And a virtually identical letter dated August 17, 2010

was received by Plaintiff's counsel on August 23, 2010.

                                         129.
      The BOA Defendants - and Defendant BAC in particular - violated the FDCPA

on numerous occasions by misrepresenting the character, amount and legal status of

the Plaintiff’s debt when communicating to/with her. See, e.g., 15 U.S.C. § 1692e(2).

                                         130.
      The BOA Defendants - and Defendant BAC in particular - violated the

FDCPA by using unfair and unconscionable means to collect the debt owed by the

Plaintiff, including the collecting and attempting to collect of interest and other

charges, fees and expenses not authorized by the applicable contractual documents

or otherwise legally chargeable to the Plaintiff, as more fully set forth above.

                                         131.
      The BOA Defendants - and Defendant BAC in particular - violated the

FDCPA by threatening to foreclose on the Plaintiff’s home even though they had

no present right to possession of the property and by threatening to take other


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action prohibited by law. See, e.g., 15 U.S.C. §§ 1692e(5) and 1692f(6).



                                              132.
      The BOA Defendants - and Defendant BAC in particular - violated the

FDCPA by failing to accurately and fully state in communications to Plaintiff “the

amount of the debt.” See, e.g., 15 U.S.C. § 1692g(a)(1).

                                              133.
      The BOA Defendants - and Defendant BAC in particular - violated 15

U.S.C. §§ 1692e and or 1692f by falsely and erroneously misrepresenting the

character, amount and or status of the alleged debt(s) at issue in this case. See, e.g.,

letters cited elsewhere herein.

                                              134.
      More specifically this includes the BOA Defendants' violation(s) of 15

U.S.C. § 1692e(8), which provides in relevant part as follows:

         A debt collector may not use any false, deceptive, or misleading
         representation or means in connection with the collection of any debt. Without
         limiting the general application of the foregoing, the following conduct is a
         violation of this section:

         (2) The false representation of--

         (A) the character, amount, or legal status of any debt; or

         (B) any services rendered or compensation which may be lawfully received
         by any debt collector for the collection of a debt.

         (4) The representation or implication that nonpayment of any debt will result in
         the arrest or imprisonment of any person or the seizure, garnishment,


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         attachment, or sale of any property or wages of any person unless such action
         is lawful and the debt collector or creditor intends to take such action.

         (5) The threat to take any action that cannot legally be taken or that is
         not intended to be taken…


         (8) Communicating or threatening to communicate to any person credit
         information which is known or which should be known to be false,
         including the failure to communicate that a disputed debt is disputed.

         (10) The use of any false representation or deceptive means to collect or
         attempt to collect any debt or to obtain information concerning a
         consumer.

         (11) The failure to disclose in the initial written communication with the
         consumer and, in addition, if the initial communication with the consumer is
         oral, in that initial oral communication, that the debt collector is attempting
         to collect a debt and that any information obtained will be used for that
         purpose, and the failure to disclose in subsequent communications that the
         communication is from a debt collector…
                                             135.
      Alternatively and or additionally, the BOA Defendants also violated 15 U.S.C.

§ 1692e by misrepresenting the legal status of the alleged debt when they knew or

should have known that they were not then entitled to collect on same by virtue of its

failure to comply with the other statutory legal requirements as detailed herein.

                                             136.
      Alternatively and or additionally, the BOA Defendants violated 15 U.S.C. §

1692g by failing to comply with the statute's requirements concerning the

validation and dispute(s) of the alleged debt(s) at issue as well as the "five-day

notice" FDCPA provision.

                     (B) STATE [GEORGIA] LAW CLAIMS

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                                      Count Six
         Violations of the Georgia Fair Lending Act [O.C.G.A. § 7-6A-1 et seq.]
                                         137.
      The BOA Defendants violated O.C.G.A. § 7-6A-1 et seq. ("Georgia Fair

Lending Act") by applying/billing improper, unauthorized, premature, duplicative

and or excess fees, assessments, interest and or charges in conjunction with the

Loan(s)/Account(s) at issue in this case. See, for example, O.C.G.A. § 7-6A-3(3).

Pursuant to § 7-6A-7, they are therefore liable to Plaintiff for any and all actual

damages, including consequential, incidental, punitive and statutory damages equal

to the recovery of two times the interest paid under the loan and forfeiture of

interest, costs and reasonable attorney's fees.

                                     Count Seven
      Breach of Contract
                                         138.
      The BOA Defendants willfully, knowingly and intentionally breached the

express terms of the parties' loan/mortgage agreement(s)/contract(s) in conjunction

with the property and account(s) at issue in this litigation.

                                         139.
      The BOA Defendants willfully, knowingly and intentionally breached the

implied terms of the parties' loan/mortgage agreement(s)/contract(s) in conjunction

with the property and account(s) at issue in this litigation.


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                                       140.
       Alternatively, the BOA Defendants negligently breached the terms of the

loan agreements at issue.

                                       141.
       Additionally and or alternatively, the BOA Defendants willfully and or

negligently breached the terms of the Loan Modification Agreement between

themselves and Plaintiff.

                                       142.
       Additionally and or alternatively, upon information and belief, the BOA

Defendants willfully and or negligently breached the terms of their servicer

agreement(s) with Fannie Mae and or any other party with an ownership or other

legal interest in the loan at issue.

                                       143.
       Additionally and or alternatively, the BOA Defendants willfully and or

negligently breached the terms of the other directives, stipulations, requirements,

etc. applicable to it in conjunction with the governing documents referenced

supra., and or any other applicable directives to which they are bound.

                                       144.
       More specifically, for example, the BOA Defendants breached the

contract(s) at issue by failing to competently, properly, timely and fairly

service/administer Plaintiff's Escrow Account.

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                                         145.
      More specifically, for example, the BOA Defendants breached the contract(s) at

issue by negligently delegating the duties thereunder. See, e.g., O.C.G.A. § 11-2-210.

                                         146.
      The BOA Defendants, by and through their agent(s) and attorney(s), willfully,

intentionally, knowingly and repeatedly breached and failed to honor and follow-

through with the express and repeated promises to correct Plaintiff's loan/account

records and to ensure the correction of the erroneous and derogatory information as

transmitted to and maintained by the CRA Defendants. See attached Exhibits.

                                         147.
      The BOA Defendants violated HAMP and the applicable contractual

provisions to which it was bound by erroneously returning one or more "over-

payments" to Plaintiff.

                                         148.
      The BOA Defendants willfully, knowingly and intentionally breached the

express terms of the "INTEREST-ONLY PERIOD FIXED RATE NOTE" ("Note"),

dated 01/31/2008, by engaging in the actions and torts as described herein

                                         149.
      Additionally or alternatively, he BOA Defendants willfully, knowingly and

intentionally breached the express terms of the "Security Deed" ("Deed" or

"Security Instrument"), dated January 31, 2008 by engaging in the actions and

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torts as described herein.

                                    Count Eight
             Breach of Implied Covenant of Good Faith/Fair Dealing
                                         150.
      The BOA Defendants breached the [implied and or express] covenant of

good faith and fair dealing with respect to the dealings between it/they and the

Plaintiff in conjunction with the matters as described herein. See, for example,

O.C.G.A. § 11-1-203.

                                     Count Nine
      Negligence
                                         151.
      Additionally or alternatively, the BOA Defendants were, at the very least,

generally [and grossly] negligent with respect to its handling and servicing of

Plaintiff's loan/account and other contractual duties and matters as described herein

and wholly failed to timely, fairly and competently honor, fulfill, and carry out their

duties and obligations, whether express or implied, associated therewith. See, for

example, Johnson v. Citimortgage, Inc., 351 F. Supp. 2d 1368 (N.D. Ga. 2004).

                                         152.
      The BOA Defendants' misfeasance arose in the context of the (non)

performance of their contractual duties. And one or more of those duties arose

independent of any contract between Plaintiff and the BOA Defendants.



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Furthermore, Plaintiff's claims in this Count are not preempted by the FCRA. Id.

                                      Count Ten
      Defamation-Slander-Libel
                                         153.
      The BOA Defendants slandered, libeled and or defamed Plaintiff when they

knowingly, intentionally and willfully made, issued, published or otherwise

communicated false, inaccurate and misleading information in print, writing or

otherwise to one or more third parties, including the Defendant CRAs and Radian

Guarantee, which tended [and did] to injure her reputation and expose(d) her to

public hatred, contempt, or ridicule. See O.C.G.A. §§ 51-5-1, 51-5-4 and or

Johnson, cited supra.

                                         154.
      The BOA Defendants knew or should have known that the aforementioned

information and or communications were false and or misleading and knew or

should have known such communications would be likely to cause harm, injury,

embarrassment, shame and or would otherwise have or cause other trouble and

damage to Plaintiff. The BOA Defendants reported to credit reporting agencies that

Plaintiff's account was delinquent even after the date of receipt of Plaintiff's written

disputes regarding her account. Id.

                                         155.
      As explained in detail herein, the BOA Defendants' furnished false

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information to a consumer reporting agency [and to Radian Guarantee] with malice

or willful intent to injure Plaintiff to the extent it was made with knowledge that it

was false or with reckless disregard of its truth and or for Plaintiff's interests. Id.

                                     Count Eleven
      Unjust Enrichment
                                          156.
      Additionally and or alternatively, the BOA Defendants have been unjustly

enriched by virtue of the matters described herein, specifically including, but not

limited to, the unlawful and or excessive application, levying and assessment of

late fees, interest and other charges to Plaintiff's account. See, for example,

O.C.G.A. §§ 9-2-7 and 51-1-1.

                                     Count Twelve
      Conversion
                                          157.
      Similarly, the BOA Defendants repeatedly converted Plaintiff's property

[money] and committed the tort of conversion [and created a "chose(s) in action"]

by virtue of the facts and matters described herein. See for example, O.C.G.A. §§

44-12-20, 44-12-21, 9-2-3 and or 15 U.S.C. § 1666c.

                                    Count Thirteen
      Theft by Conversion
                                           158.
      The BOA Defendants converted or committed Theft by Conversion by


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unlawfully and or fraudulently soliciting, obtaining and or exercising control over

Plaintiff's   property,    pecuniary    interests   and     or     benefits/entitlements   to

payment(s)/reimbursement(s) and or failing to make a specified and lawful

application/disposition of her funds by virtue of the facts and matters described

herein. See, for example, O.C.G.A. §§ 16-8-2, 16-8-4, 51-10-1 and 44-12-20 et seq.

                                   Count Fourteen
       Theft by Deception
                                           159.
       The     BOA        Defendants     committed        ‘Theft     by    Deception’      by

obtaining/obstructing access to Plaintiff's property or pecuniary interests in a

deceitful means/manner with the intention of depriving her of same and or

intentionally and deceptively promised the performance of services which they did

not intend to perform or knew at the time would not be performed. See, for

example, O.C.G.A. §§ 16-8-3.

                                       Count Fifteen
                     Violations of the Georgia Fair Business and
                           Deceptive Trade Practices Act(s)
                                     160.
       The BOA Defendants violated the Georgia Fair Business Practices Act and

or Deceptive and or Uniform Deceptive Trade Practices Act by engaging in,

facilitating and or failing to take reasonable steps to prevent, the actions related to

the consumer transactions in the manner described herein. See O.C.G.A. §§ 10-1-


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370 et seq. and 10-1-390 et seq.

                                     161.
      More specifically, the BOA Defendants (mis) represented that their services

are/were of a particular standard or quality when they are/were not/of another;

advertised services with an intent not to sell them as advertised and or engaged in

[any] other conduct which created [a likelihood of] confusion and or of

misunderstanding by Plaintiff. See O.C.G.A. §§ 10-1-372 and 10-1-393.

                                       162.
      The BOA Defendants, by or through their agents/attorneys, violated

O.C.G.A. §§ 10-1-420 and or 10-1-421 in conjunction with its offering of services

by making, publishing, disseminating, circulating, advertising and or and placing

before the public [and Plaintiff] a brochure/circular/pamphlet/notice with the

intent, design, or purpose not to sell or provide the services so advertised or upon

the terms stated therein or otherwise communicated.

                                       163.
      Additionally and or alternatively, the BOA Defendants, by or through their

agents/attorneys, violated O.C.G.A. § 10-1-421 by making false and or misleading

statements or promises in the aforementioned materials which concerned "real or

personal property or services, professional or otherwise, or concerning any

circumstances or matter of fact connected with the proposed performance or



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disposition thereof which is untrue or fraudulent and which is known or which by

the exercise of reasonable care should be known to be untrue or fraudulent" [and

upon which Plaintiff detrimentally relied].

                                     164.
      Plaintiff issued any applicable notices required to be given under the
aforementioned statutes.
                                   Count Sixteen
      Fraud - Deception

                                 165.
      The BOA Defendants willfully and knowingly committed fraud and

deception in the course of their actions and conduct as described in detail herein

and are liable to Plaintiff for any actual, consequential and exemplary damages and

costs and attorney's fees as a result, in an amount to be determined at trial. See, for

example, O.C.G.A. § 56-6-1 et seq. Thus, for example, by failing to notify Plaintiff

that they intended to hold or otherwise treat payments received by her any

differently than before, or that they intended to report derogatory information to

the CRAs as a result of the Modification - whether justified or not - the BOA

Defendants committed fraud.

                                         166.
      The BOA Defendants committed fraud and or intentionally deceived and

wrongfully induced and misled Plaintiff by virtue of the facts, transactions and


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dealings described herein. Said fraud/deception/misrepresentation was either or

both actual and or constructive and Plaintiff acted/relied to their detriment on such

fraud/misrepresentation. See O.C.G.A. § 23-2-51(b) ["constructive fraud consists of

any act of omission or commission, contrary to legal or equitable duty, trust, or

confidence justly reposed, which is contrary to good conscience and operates to

the injury of another”]; § 23-2-56 [fraud may occur by way of "signs or tricks, or

through agents employed to deceive, or by any other unfair way used to cheat

another”]; § 23-2-57 [slight circumstances may be sufficient to establish it] and §

23-2-52 ['Misrepresentation as Legal Fraud'].

                                        167.
      Alternatively or additionally, the BOA Defendants committed fraud and or

intentional misrepresentation/deception by virtue of their silence and or failure to

communicate or disclose material facts to Plaintiff, including those which, had they

been disclosed, would have caused Plaintiff to change or alter their

decision(s)/actions. See O.C.G.A. § 51-6-4(a). See also O.C.G.A. § 51-6-2(b)

["fraudulent or reckless representation of facts as true when they are not, if

intended to deceive, is equivalent to a knowledge of their falsehood even if the

party making the representation does not know that such facts are false"]; Oliver

v. O'Kelley, 48 Ga. App. 762, 173 S.E. 232 (1934); accord, Adkins v. Lee, 127 Ga.

App. 261, 193 S.E.2d 252 (1972) ["any misrepresentation intended to deceive and

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which does deceive is fraud, for which a party is entitled to a remedy at law"].

                                        168.
      Alternatively or additionally, the BOA Defendants committed fraud and or

intentional misrepresentation/deception by virtue of affirmatively making the

aforementioned false and misleading statements and promises.

                                        169.
      Additionally or alternatively, the BOA Defendants, either directly or through

their agents violated O.C.G.A. § 33-1-9(a) by, for example, knowingly, willfully

and or with reckless disregard making or aiding in the making of a false or

fraudulent statement or representation of a material fact(s) or thing(s) in a written

statement and or in connection with either the application for/receipt of

government benefits and incentives which it received as a result of granting the

Modification to Plaintiff and as otherwise discussed herein.

                                 Count Seventeen
      Emotional Distress
                                        170.
      As a result of their intentional, willful, extreme and outrageous conduct (and or

with such wanton disregard for the consequences so as to give rise to a presumption of

willfulness) and actions and or inactions described herein, each [all] of the named

Defendants have caused Plaintiff emotional distress, anxiety, worry, mental anguish,

humiliation, embarrassment and other emotional and or psychological injury(s) to her

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general peace, happiness and well-being. See, e.g., O.C.G.A. §§ 51-12-5 and 51-12-6.

                                        171.
      Alternatively/additionally, as a result of their negligent or grossly negligent

extreme and outrageous actions and or inactions described herein, each [all] of the

named Defendants have caused Plaintiff emotional [and physical/psychosomatic]

distress, anxiety, worry, mental anguish, humiliation, embarrassment and other

emotional and or psychological injury(s) to her general peace, happiness and well-

being. See, e.g., O.C.G.A. §§ 51-12-5 and 51-12-6.

                                  Count Eighteen
      Civil RICO
                                        172.
      Upon information and belief, the BOA Defendants violated O.C.G.A. § 16-

14-1 et seq. - "Georgia RICO (Racketeer Influenced and Corrupt Organizations)

Act" - by virtue of the conduct as described herein.

                                  Count Nineteen
      General Liability
                                        173.
      Alternatively and or additionally, without waiving any other causes of

action, Plaintiff is entitled to a legal remedy and right of recovery against each

Defendant in conjunction with O.C.G.A. §§ 9-2-3 [“For every right there shall be a

remedy”] and or 44-12-21 [“For every violation of an express or implied contract

and for every injury done by another to one's person or property, the law gives a

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right to recover and a remedy to enforce it”].

                                    Count Twenty
        Agency
                                          174.
        Alternatively and or in addition to any and all other applicable statutes or

laws, Plaintiff brings this action as a beneficiary [whether inversely or directly, as

third party or otherwise] of one or more contracts pursuant to and in conjunction

with O.C.G.A. § 9-2-20(b).

                                          175.
        Alternatively and or additionally, Plaintiff brings this action pursuant to and

in conjunction with O.C.G.A. §§ 13-3-42 and or 51-12-30.

                                 Count Twenty-One
        Miscellaneous
                                          176.
        Due to the BOA Defendants' failure to respond [and or timely respond]

meaningfully in writing to Plaintiff's letters cited herein, some of which expressly

cited the relevant statutes, all the facts, assertions, admissions against interest, etc.

contained therein are deemed admitted. See O.C.G.A. §§ 24-3-36 and 24-4-23.

    V       INJUNCTIVE AND DECLARATORY [EQUITABLE] RELIEF
                                 Count Twenty-Two
        Injunction - Restraining Order
                                          177.
        Plaintiff seeks and hereby respectfully requests that the Court issue an

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injunction or Temporary Restraining Order in light of the immediate and

irreparable injury, loss, and or damage that will or is likely to result from the BOA

Defendants' actions without judicial intervention pursuant to O.C.G.A. §§ 9-5-1, 9-

5-8, 9-11-65, 15 U.S.C. §§ 1635(g) and or 1691e(c).

                                Count Twenty-Three

      Declaratory Judgment - Injunctive Relief
                                          178.
      Pursuant to O.C.G.A. § 9-4-1 et seq., 15 U.S.C. §§ 1635(g) and or 1691e(c),

Plaintiff seeks and hereby respectfully requests that the Court issue a Declaratory

Judgment respecting the actual controversy which exists between the parties in this

case. Plaintiff submits that such judicial intervention is necessary to immediately

settle at least part of the Parties' controversy(s) and to afford relief from uncertainty

and insecurity with respect to rights, status and other legal relations between and

among her and the Defendants.

      Plaintiff seeks a Declaratory Judgment and or injunctive relief on the issue

of the amount of payment(s) due, the application and apportionment of payments

tendered, the issuance by the BOA Defendants of notices to Plaintiff regarding her

loan and to require both BOA Defendants to cease issuance of adverse notices

pertaining to payments on her account and to prohibit the CRA Defendants from

reporting or maintaining any derogatory information pertaining to the account(s) at


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issue or re-polluting her Reports with such information.

                                 VI     DAMAGES
                                Count Twenty-Four
      (a)      Special/Actual Damages
                                        179.
      In addition, and or consistent with the enumerated allegations as plead

hereinabove, all Defendants are liable for, any and all actual/special, general,

consequential and or other damages to which Plaintiff is entitled in law or equity in

an amount to be determined by the trier(s) of fact. See O.C.G.A. §§ 13-6-1, 13-6-2,

51-12-1, 51-12-3 and 51-12-4.

      (b)      Consequential Damages
                                        180.
      All Defendants are liable to Plaintiff for any and all consequential damages

sustained in an amount to be proven at trial and or as determined by the

enlightened conscious of a fair and impartial jury. See O.C.G.A. §§ 13-6-1, 13-6-2

and 51-12-3.

      (c)      General Damages
                                        181.
      All Defendants are liable to Plaintiff for any and all general damages, which

the law presumes to have flowed from the tortious acts described herein - and

which may be recovered without proof of any amount. See O.C.G.A. §§ 10-1-399,

13-6-1, 13-6-2, 51-12-2 and 51-12-4.


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      (d)    Punitive/Exemplary Damages
                                       182.
      All Defendants are liable to Plaintiff for exemplary or punitive damages by

virtue of their intentional, wanton, malicious, egregious and or willful actions and

inactions described herein. And the BOA Defendants are further liable for

knowingly and or fraudulently entered into the contract(s) at issue with intent not

to honor the duties and obligations thereunder and or to likewise deceive Plaintiff.

See O.C.G.A. §§ 51-12-5, 51-12-6 and 51-12-30.

                                       183.
      Alternatively and or additionally, the BOA Defendants are liable to Plaintiff

for punitive and or exemplary damages pursuant to O.C.G.A. § 51-12-51.

                                         184.
      In addition, and consistent with the their reckless, intentional, egregious, and or

willful actions and inactions as enumerated herein, the BOA Defendants are liable for,

punitive and or exemplary damages in accordance with 12 U.S.C. § 2605(f)(1)(B), 15

U.S.C. §§ 1640, 1681n(b), 1692k and or O.C.G.A. §§ 10-1-399 and or 51-12-5.1.

                                Count Twenty-Five

      Attorney's Fees, Costs & Expenses
                                        185.
      Consistent with the enumerated allegations as plead hereinabove, Plaintiff seeks,



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and the BOA Defendants are liable for, any and all attorney's fees, costs and or expenses

related to the claims asserted in this lawsuit by virtue of their blatant, unequivocal and

egregious bad faith and stubborn litigiousness and continuing to put Plaintiff through

unnecessary trouble and expense and essentially giving her no reasonable choice but to

resort to litigation, despite the numerous and repeated good faith attempts by her to

resolve the matter in a non-litigious manner. See Johnson, cited supra.

                                       186.
      Additionally and or alternatively, Defendants are liable to Plaintiff for all

reasonable attorney's fees, costs and other expenses incurred in connection with this

litigation due to Defendants' bad faith, stubborn litigiousness and blatant "so sue me"

attitude, which has put Plaintiff to significant unnecessary trouble and expense. See

O.C.G.A. §§ 13-6-11 and or 13-1-11, among any other applicable laws.

                                        187.
      Alternatively or additionally, the BOA Defendants are liable to Plaintiff for

attorney's fees costs and expenses incurred or related to the claims asserted in this

lawsuit pursuant to O.C.G.A. §§ 10-1-399 and or 51-12-5.1, 12 U.S.C. § 2605(f),

15 U.S.C. §§ 1640, 1681n(c), 1681o(c), 1691e(d), 1692k(3), 42 U.S.C. § 4012a

and any other applicable statutes.

                                  Count Twenty-Six
      Interest
                                                188.


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      Plaintiff also seek interest in an amount to be determined at trial pursuant to

O.C.G.A. §§ 7-4-15, 13-6-13 and or 13-1-11, among any other applicable laws.


      WHEREFORE, Plaintiff prays for the following:

            (a)    trial by a twelve (12) person jury;
            (b)    actual damages [specific amount to be proven at trial];
            (c)    consequential damages in an amount to be determined at trial;
            (d)    general damages in an amount to be determined at trial;
            (e)    statutory damages for each statutory violation as described herein
                   in an amount to be determined at trial;
            (f)    exemplary/punitive damages in an amount to be determined at
                   trial;
            (g)    reasonable attorney's fees, costs and expenses;
            (h)    interest as allowed by law;
            (i)    that the Court order BOA/BAC to conduct an accurate accounting
                   of Plaintiff's loan, enjoin all Defendants from transmitting or
                   reporting any derogatory or erroneous information pertaining to
                   Plaintiff or her mortgage account and order it to correct its records
                   in accordance with the facts herein; and
            (j)    for any other such further relief as this Court or trier of fact deems
                   just and proper.


      Respectfully submitted this 15th day of December, 2010.

                             (Signature on following page)


                                        s/ Auden L. Grumet, Esq.
                                        Ga. State Bar No.: 314613
                                        Attorney for Plaintiff
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